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                                       r= i~~~

      Melike Dewey                                   Office of the United States Attorney
 2    P.O. Box 862026     1021,lUN -2 PM i s ~ 6 Room 7516, Federal Building
      Los Angeles, CA 9008. g;     G,                300 North Los Angeles Street
 3                         ~~_ ~t,J.,.Ea~i~~., W
      Tel:(424)259-2235 :~:~i ,ti~        ~ t: :, `~ Los Angeles, California 90012
 4    nu., c~~                   L0~ ~ . Lf~~     r

 s                         iJ~ I            RICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA
 6
      Melike Dewey                                 > Case No.:
 8
                           Plaintiff               ~ ~~~ V ~~,d ~~ ~~~It~f ~'~P
 9
io    vs.
it
      Los Angeles City College, in its official
1z    capacity                                     ~ COMPLAINT
13    Financial Aid Office                         ~
      855 N. Vermont Ave.                          ~
14    Los Angeles, CA 90029                        ~
15   (323)953-4000                                 >

16    STATE OF CALIFORNIA,in its official          ~
1~    capacity                                     >
      Attorney General Rob Bonta                   >
is    1300 "I" Street                              ~
19    Sacramento, California 95814-2919            ~
      Phone:(916)445-9555                          ~
ao
zi  The Regents of the University of               ~
    California, Davis, in its official capacity,   >
a2 1 111 Franklin St., 8th Floor                   ~
23
    Oakland, CA 94607-5200                         ~
   (510)987-9800
24

25
      United States Department of Education, in    j
      its official capacity
26    400 Maryland Avenue, SW                      ~
2~
      Washington, D.C. 20202                       ~
      1-800-872-5327                               >
Za


                                             COMPLAINT
     Case 2:22-cv-03767-MWF-PD Document 1 Filed 06/02/22 Page 2 of 83 Page ID #:2




 1     DIRECT LOANS,in its official capacity
 2     U.S. Department of Education
       PO Box 9003
 3     Niagara Falls, NY 14302-9003
 4
       Coast Professional Inc., in its official
 5     capacity
 6
      PO Box 2876
       West Monroe,LA 71294-9945
      (888)815-2843
 s
      United States Depa~tlment of„Justiice
 9    United States Attort~y General              '
io    950 Pennsylvania Ave. NW
      Washington D.C. 20530
11
      Does 1-10;
lz
13                           Defendants               ~
14

15
                                              I.INTRODUCTION
16

i~    To the United States Attorney:
is            Plaintiff Melike Dewey has brought this action against defendants for
19
       violating Title 18 U.S.C. §1006 for non-compliance with the Federal credit
Zo
21     institution entries, reports and transactions, falsifying statements, changing loan
22
       amounts, fraud, non-disclosure of documents, fabricating e-signed signatures
23

24     without identifying borrowers violating the Title 12 U.S.0 §1829b, and/or §1953
25
       Retention, Recordkeeping regulations in Identification requirements, and under
26
       Title 12 CFR 1006.18(b)for False, deceptive, or misleading representations, while
z~
zs     unlawfully profiting from the proceeds awarded to the student individually. The


                                                  COMPLAINT
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 1
      ~ institutions(1) profit via pullbacks ofthe United States government grants(2)
 2
      change federal Direct loans into Perkins loans,(3) without authorization (4)falsify
 3

 4    records(5) without ID verification,(6) without disclosure to the Plaintiff, and (7)
 5
      in conspiracy with other institutions to pull back government grants.
 6

 7
                                          II. THE PARTIES
 8

 9           1.    Pro Se Plaintiff, Melike Dewey is a student who is being victimized by

10
      the Los Angeles City College(LACC)denying federal aid and California grant
ii
      disbursements to the Plaintiff based on financial schemes of the Regents of
12

13    University of California, Davis(UC Davis).
14
            2.     Defendant, Los Angeles City College (City College), is a financial
15

16    institution disbursing governmental FASFA grants financed through Department
17
      Education and Cal Grants, through the State of California.
is
i9          3.     Defendant, the Regents ofthe University of California, Davis(UC

20    Davis), is an institutional lending agent in the State of California to disburse gran
21
      and federal student loans allocated to the students from the US Department of
22

23    Education.
24
            4.     Defendant, United States Department of Education is a governmental
25

26    funding agency using lending portal Nelnet for the governmental loans and grants
27

28




                                           COMPLAINT
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 1    applied through FASFA provided to the students. It is disbursing governmental
 a
      funds to the institutions.
 3

 4          5.    Defendant William D. Ford Federal Direct Loan Program is a provider
 5
      of subsidized and unsubsidized loans for higher education to the institutions who
 6

      disburse funds to the students.
 s
            6.    Defendant, Coast Professional Inc. is a collection agency hired to
 9

io    collect on behalf ofUC Davis' installed Perkins loans placed in default.

Zi          7.    United States Department of Justice is an overseeing agent of unlawful
12
      actions that have been committed against people by lending institutions operating
13

14    in the United States.
15
            8.    Does 1-10, are additional defendants not named in this complaint to be
16

i~    discoverable through discovery prior to or during the trial.
is
19
                                   III. BASIS FOR JURISDICTION
20
ai
            9.    Plaintiff commences this action pursuant 18 U.S.0 § 1006 for crimes
zz
23    and criminal procedure for non-compliance with the Federal credit institution
24
      entries, reports and transactions, falsifying statements, changing loan amounts,
Zs
26    non-disclosure of documents,fabricating e-signed signatures not identifying
27
      borrowers violating under Title 12 U.S.0 §1829b (insured), and/or §1953
Zs


                                          COMPLAINT
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 1
      (uninsured), under Title 12 CFR 1006.18 (b) for False, deceptive, or misleading
 2
      representations, and unlawfully profiting from the proceeds awarded to students by
 3

 4    the United States government grants through FASFA, mishandling and falsifying
 5
      federal student's subsidized and unsubsidized loans, and creating Perkins loans
 6

      without disclosures to, or knowledge to the students.
 8
             10.    As a controlling entity of all governmental funds collected on behalf
 9

io    of the student and as allocated to the student aid by the government in grants and

ii    loans to receive education, educational institutions are single-handedly deciding
12
      how funds are disbursed without any disclosures to or any knowledge of the
13

14    student and are therefore controlling student's liberty in pursuit of education. This
15
      is a taking of student's liberty protected under the Fifth Amendment of the United
16

i~    States Constitution, especially when funds are taken without student's control,

18
      without student's knowledge and the student is forced to pay back all funds taken,
i9
      even if the funds are mishandled by the institutions. Educational institutions are
zo
21    mishandling the funds and are rolling over their profits coming from pullback
22
      funds into the student's debt for the students to pay.
23

24           1 1.   Jurisdiction is proper under 28 U.S.0 § 1331, which provides that
25
      federal district courts have original jurisdiction of all civil actions arising under the
z6
2~
      Constitution, laws, or treaties of the United States as well as this court has

28    supplemental jurisdiction, and pursuant to 28 U.S.0 § 1367(a), over state law


                                            COMPLAINT
     Case 2:22-cv-03767-MWF-PD Document 1 Filed 06/02/22 Page 6 of 83 Page ID #:6




 1    claims. Plaintiffs claims fall under financial fraud, mishandling offunds and false
 z
      statements.
 3

 4
                                  IV. STATEMENT OF THE CASE
 5

 6          12.     During 2011-2014 Plaintiff attended Los Angeles City College
 7
     (LACC)and transferred to University of California, Davis(UC Davis). During
 s
 9    2014-2017 Plaintiff attended UC Davis. During 2019-2020, 2020-2021, 2021-
10
      2022, Plaintiff attended LACC for additional courses required to proceed into the
ii
      field of Radiologic Technology, an RT license, and radiology. Plaintiffs Cal grant
iz
13    and Financial Aid disbursed to LACC were not paid to the Plaintiff, although were
14
      allocated to be paid to the student by the government. Plaintiff dropped out. The
15

16    funds allocated are on hold while used to pay other fees.
17
            13.     In July of 2014, after taking required courses to transfer, Plaintiff was
is
19
      admitted into the junior level of studies at UC Davis. Plaintiff was offered by UC

20    Davis direct federal subsidized and unsubsidized loans for $8,500. See, Exhibit A.
zi
            14.     On 09/08/2014, William D. Ford Federal Direct Loan Program
as
23    Loans) mailed Disclosure Statements specifying the subsidized loan for $5,500.
24
      Plaintiff did not apply for unsubsidized loans. Independent Undergraduate loan for
25

26    the junior year and beyond was $12,500(maximum $5,500 subsidized). See,
27
      Exhibit B.
as


                                            COMPLAINT
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 1
             15.    UC Davis offered $SOO less from $5,500 for a subsidized loan and
 2
      $3,500 less from $7,000 for unsubsidized loan, as can be seen by comparing the
 3

 4    UC Davis and the Direct Loan Disclosure amounts stated. Total $4,000 less.
 5

 6           16.    UC Davis took disbursement under student's name without informing
 7
      the student about it, while pushing Plaintiff into taking loans that were already
 s
 9    disbursed to UC Davis.
10

ii           1 7.   This $4,000 became a Perkins loan, with interest payable to UC Davis

12
      although disbursed by Direct Loans to the student already. Many transfer students
13
      feel overwhelmed during the first year to pay any attention to the finances.
14

15
             18.    Loans were given, but no information about them was given. The
16

i~    transfer students did not know financial details because no disclosures were given
is
      to them. Plaintiff alleges that professors might be intentionally dropping students,
19

zo    since there are a lot of transfer dropouts during the first year of transfer.
zi
zz           19.    This $4,000 difference was'made up' to be a Perkins loan disbursed to

23
      the Plaintiff without her knowing about it with interest payable to UC Davis, a 1
24
      the student did not apply for. The next year Perkins became $5,500 that was in fact
25

26    an amount ofthe direct federal subsidized loan. The Perkins Promissory Note was
27
      made up with an e-signature, which is no signature at all, and no disclosures were
28


                                            COMPLAINT
                                                                                          7
     Case 2:22-cv-03767-MWF-PD Document 1 Filed 06/02/22 Page 8 of 83 Page ID #:8




 1    provided to the students of how the money was spent or how did disbursements be
 z
      so different from the initial disclosures given.
 3

 4
            20.    This is an attempt to commit fraud that needs to be addressed by the
 5

 6    Department of Justice, and the Attorney General of the State of California but it is
 7
      not. If a financing discrepancy is brought up in a federal case, as it happened to the
 s
 9    Plaintiff in Northern District, the judge would sit on a case for almost two years,
10
      and then dismiss it without serving defendants, although informa pauperis was
ii
      granted after which the court must serve. The court clerk would then hold on to the
iz
13    order while taking time from filing an appeal, electronic filing was denied when
14
      applied by the Plaintiff. The appellate court clerk would then dismiss an appeal for
15

16    out ofjurisdiction (when it passes 30-day filing deadline). This is exactly what
17
      happened to the Plaintiff when amailed-out Notice of Appeal reached the Ninth
is
19
      Circuit Appellate Court 2-3 days after the 30-day deadline, although it was mailed
20
      out within 30 days ofthe order.
ai
Za          21.    This is a false presentation of a loan, that should be disbursed under
23
      the Direct Loan Program, not under a different name, and therefore, it was falsely
24

25    added to the student's profile under Perkins to be sent to the collection agencies
26
      while all Direct Loans were placed into forbearance.
2~

28




                                           COMPLAINT
                                                                                            8
     Case 2:22-cv-03767-MWF-PD Document 1 Filed 06/02/22 Page 9 of 83 Page ID #:9




 1
             22.   Should the federal government be allowed to remove funds from
 z
      ' states that pass laws which violate federal laws?
 3

 4          "No. The Federal government offers grants to states based on their
 5
      application to the program being promoted by the Federal law. When the state
 6

      passes a law that directly breeches the contract or otherwise stops the agreement
 8
      then the Federal aid ceases. There is no pullback of funds already allocated and
 9

io    disbursed. If the state misspends funds, then of course the contract could require

ii    repayment," says Bob Bridgman, former manager garnishment, collection,
12
      compliance, finance (1989-2015).
13

14          23.    These mis-spent, and mishandled funds are rolled into student debt by
15
      the institutions, who act as lenders. The institutions are not lenders, they are just
16

i~    handlers of government money. The funds are skillfully inserted into the student's

18
      profile with no questions asked, and students are paying for it with interest on all
1G
      loans taken. While mishandling the funds allocated to the students, and pulling out
zo
zl    funds allocated to the student, the institutions are violating the Sri Amendment
zz
      rights of the student, by forcefully taking away property that belongs to the student
23

24    who had already funds allocated from the government. The pullback funds do not
25
      return to the government. They stay with the institutions.
26

z~          24.    Under Title 18 U.S.0 ~ 1006 any lending authorized or acting under

28    the laws of the United States or any institution other than an insured bank, with


                                           COMPLAINT
                                                                                              q
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 1   intent to defraud any individual makes any false entry in any book, report or
 a
     statement of or to any such institution, or without being duly authorized, draws any
 3

 4   order or bill of exchange, makes any acceptance, or issues, puts forth or assigns
 5
     any note, debenture, bond or other obligation, or draft, bill of exchange,judgment,
 6

     participates or shares in or receives directly or indirectly any money, profit,
 8
     property, or benefits through any transaction, loan, commission, contract, or any
 9

io   other act of any such corporation, institution, or association, shall be fined not

ii   more than $1,000,000 or imprisoned not snore than 30 years, or both.
la
13         25.    A. Defendant Los Angeles City College(LACC)is in conspiracy
14
     with UC Davis for non-payment of the government appropriated funds in
15

16   violation under Title 18 U.S.0 § 1006.
17

is         26.    This Claim arises from defendant Los Angeles City College Financial
19
     Aid office declining federal FASFA and Cal-grant disbursements to the Plaintiff
Zo
21
     due to student's default from the UC Davis financial department. UC Davis

zz   repeatedly declines every Plaintiffs demand to provide a default clearance letter
23
     knowing that UC Davis itself created the false default.
24

25
           27.    Plaintiff has not been paid any FASFA and CAL-grant for her
26

2~   attendants during three school years of2019-2020,2020-2021, and 2021-2022.
28




                                          COMPLAINT
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 1   Plaintiff had allocated federal grants and the Cal-grant for her study through
 2
     government programs. LACC approved the funds as seen in Exhibit LACC email
 3

 4   that confirmed the award.
 5

 6         28.    LACC pays itself for the cost of student's attendance, admissions in
 7
     classes, earnings paid to the educators, labs, campus, and admission fees. Funds
 s
 9   were disbursed for everything except the student's portion it was allocated for,
10
     without paying the student. LACC is unlawfully keeping student's funds. This is
ii
     extortion against the student in conspiracy with the Regent's ofthe University of
12

13   California, Davis.
14

15         29.    Several attempts were made through email due covid closures with no
16
     results in resolving this issue of clearing up the release ofthe payments for three
i~
is   school years. The Cal-grants were awarded to the student for excellence above the
19
     3-point grade average performance but were never paid to the student.
zo
2i         30.    LACC is unlawfully profiting from the Federal Student Aid payments
z2
     themselves while leaving the students out dry. Plaintiff cannot provide a default
23

24   clearance letter from UC Davis who wrongfully placed her into the default bind
25
     through creating false statements and fraudulent loans.
26

27
           31.    LACC has forced Plaintiff into fallout due financial hardship created
28




                                         COMPLAINT
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     against her from this `hold' offunds rightfully designated and allocated to her.
 2
     LACC is acting without an authorization to do so. LACC judgment is based on
 3

 4   fraudulent actions by defendant UC Davis. It is in conspiracy with UC Davis to
 5
     hold the funds, extort students and profit from them.
 6

 7
            32.    LACC is violating Title 18 USC §1006 by association in conspiracy
 s
 9    with UC Davis for intentional withholding offederal student aid, and Cal-grant
10
     connected to FASFA disbursements to the Plaintiff. LACC is mishandling the
ii
     appropriation of the funds to the student. The funds are given to the student's
is
13   education through institution, not to the institution to pay themselves and not to
14
      pay the student while keeping the funds left over to themselves.
15

16
            33.    B. Defendant, the Regents of the University of California, Davis
i~
18   (UC Davis), violations of mismanagement and pullout of funds,false
19
     statements and fraud in government appropriated funds, non-disclosure of
zo
                                            borrowers, are violations under
ai lending instruments, and non-identifying
zz   Title 18 U.S.0 § 1006.
23
            34.    Defendant, UC Davis is repeatedly denying Plaintiffs demand for a
24

25    default clearance letter, although, Plaintiffs federal loans are in Forbearance until
26
     2027 and she never applied for Perkins loans.
z~
2s


                                           COMPLAINT
                                                                                          I~
 Case 2:22-cv-03767-MWF-PD Document 1 Filed 06/02/22 Page 13 of 83 Page ID #:13




 1         35.    Plaintiff demanded UC Davis to show all cancelled checks for the
 2
     loans disbursed. UC Davis did not provide any proof of cancelled checks to the
 3

 4   Plaintiff, because none of the government loans were disbursed as disclosed to the
 5
     student. Students have no idea what is going on with their finances, what comes in,
 6

     what is disbursed to them and how the money on their behalf is spent.
 8

 9         36.    Disbursement amounts do not match any deposits into their accounts.

10
     It is like a muddy water. The disbursements given might've been from grants. UC
ii
     Davis does not provide any lending procedure disclosures at all.
iz
13
           37.    Exhibit 1-UC - On October 19,2017, University of California Davis
14

15   Accounts Receivable, One Shields Avenue Davis, California 95616-8709 sent
16
     Billing Statement showing total due $2,509. The same billing statement was
i~
is   mailed out monthly through March. Plaintiff knew it was wrong because 2 years at
19
     5% interest on $1,155 would not amount to $2,509.
Zo
21
           38.    Exhibit 2-UC - On Apri130, 2018, Alltran Education, Inc. Jeanette
22
     Hodgson mailed out a letter asking Plaintiff to contact the collection agency acting
23

24   on behalf of University of California Davis. Plaintiff called disputing the validity
25
     ofthe claim on a loan procured after she left UC Davis without knowing what the
26

a~   charge was for.
2s


                                         COMPLAINT
                                                                                        IC I
 Case 2:22-cv-03767-MWF-PD Document 1 Filed 06/02/22 Page 14 of 83 Page ID #:14




 1            39.    Exhibit 3-UC - On November 1, 2018, Plaintiff sent a letter stating
 2
       that she was not even at the university when the charge was made.
 3

 4
              40.    Exhibit 4-UC - On November 30, 2018, Samantha Chenoweth from
 5

 6     Student Accounting 2100 Dutton Hall One Shields Avenue Davis, CA 95616-8709
 7
       (530)752-3649 mailed out an explanation letter explaining the charges for $2,509
 s
 9      as "The remainder of balance, $2,504, is due to the reversal of a Perkins loan..."
10

ii            41.    Since there is no pullback offunds already allocated and disbursed by

is     the government, Plaintiff believes and therefore alleges that this amount was
13
        wrongfully charged to the Plaintiff and was a profit to the institution itself, that the
14

i5     institution wanted to enslave the Plaintiff into paying.
16

i~ ~          42.    Exhibit 5-UC - On December 6, 2018, Alltran Education, Inc. mailed
is
       a letter containing Plaintiffs personal data from UC Davis.
19

20
              43.    On a spreadsheet called "Student Trans Summary Report" was the
zl
2z     amount $2,504.00 dated 26-Sept-17, stated as Federal Perkins Loan-Smr. Plaintiff

23
       demanded a copy ofthe Federal Perkins loan note that she allegedly signed for the
24
       $2,504 after seeing it as a Perkins loan. By Alltran a University Student Loan
25

26     Promissory Note was mailed to Plaintifffor $991, dated on December 17, 2015,
27
        not a Perkins Note for $2,504.00.
28 i




                                             COMPLAINT
                                                                                              14
 Case 2:22-cv-03767-MWF-PD Document 1 Filed 06/02/22 Page 15 of 83 Page ID #:15




 1         44.   Plaintiff saw from the spreadsheet that the $2,504 loan was a Perkins
 z
     loan. These were new facts and important information Plaintiff should have been
 3

 4   told at the time of the signing in 2015, not in 2018 when she demanded answers.
 5
     No Disclosures, nor any copies of notes were given to the student on Perkins loans.
 6

 7
           45.   The loans that Plaintiff applied for were Direct federal subsidized
 8

 9   when she started UC Davis in September of2014, and one emergency loan on
10
     October 9, 2015,for $1,155 for a plane ticket for her mother's funeral. Both loans
ii
     were signed with a handwritten signature not with an unverifiable e-signature.
lz
13
           46.   Promissory Note from Alltran was an e-signed Note. The e-signature
14

15   from December 17, 2015 is incorrect. The amount shows $991.00. This was not a
16
     Perkins loan. No promissory note for Perkins loan was given. It didn't exist.
i~
is
          47.    When Plaintiff started in the Fall of 2014, a Disclosure statement was
19

zo   given to the Plaintiff dated on 12/20/2014 for the 2014-2015 school year. The
21
     Disclosure of07/15/2014, in Exhibit A,shows the amount requested $28,962,
zz
     which included tuition $13,996.00, books $1,560.00, housing $10,129.00,
23

24   transportation $1,358.00 and the insurance for $1,869.00. Loans totaled $8,500.00
25
     This is what the Plaintiff applied for when she started at UC Davis in 2014 without
26

2~   the unsubsidized loan shown $3,500 by UC Davis.
28




                                        COMPLAINT
                                                                                       15
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 1           48.    Disbursements for subsidized loans were stated $1,667, $1,667,
 2
       $1,666, and for unsubsidized loan disbursements were stated $1,167, $1,167,
 3

 4     $1,166 per year by UC Davis. Leftover funds from grants totaled approx. $4,597.
 5

 6          [$28,962.00 - $13,996.00 - $1,869.00 - $8,500(loans) _ $4,597.00]
 7

 8           49.    No disclosures of any federal unsubsidized loans from a lender were
 9
       provided because they were not applied for at that time. Subsidized loan payments
to
ii     on a disclosure were shown on Exhibit B.

is
13
             50.    Exhibit B, dated 09/08/2014 from William D. Ford Direct Loan

14     Program shows three payments to be made on 09/22/2014 for $1,650, 12/26/2014
15
       for $1,650 and 03/20/2015 for $1,649. Loan period shows 10/02/2014 until
16

i~     06/04/2015. The total amount after deducting the 1.072% is $4,949 that was
is
       disbursed to UC Davis in a subsidized loan.
19

20
             50.   Plaintiff alleges that the unsubsidized loan amounts as seen on Nelnet
21 ~

Zz for 2014-2015 and 2015-2016 years are incorrect, not disbursed as shown,include
23
       pullbacks by the institution, as stated on statements from the Nelnet Exhibit 1.
24

25           Exhibit 1 -has nine Nelnet's reported statements, copies of seven loans still
26
       outstanding by the student that were disbursed 14/15 in five statements, and 15/16
z~
28     in two statements showing outstanding amounts valid as of June 30, 2021, coming


                                           COMPLAINT
                                                                                          16
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 1
     due in 2024. For the 2016-2017 Nelnet shows no direct loans to be paid back. Two
 2
     Perkins loans on Nelnet show zero balance with no information.
 3

 4
           51.   Two Records from Nelnet for the 14/15 year show two unsubsidized
 5

 6   loans'disbursed', one for $1,001 (2014), and the other for $998(2015), which will

     be due $1,270 and $1,241 respectively in 2024. These two amounts do not match
 a
 9   any amounts disbursed to the student. These disbursements were made up. No
10
     unsubsidized loans in Direct Lender Disclosures were disclosed for that year.
ii
iz         52.   Three Records from the Nelnet for the 14/15 year show three
13
     subsidized loans for the 2014-2015 school year $1833,$1833, and $1834, which
14

15   would become $1996, $1996, and $1997 in 2024 with interest included. None of
16
     these amounts match any disbursements made to the student in disclosures stated.
i~
is
           53.   UC Davis did not follow disclosure promises made. None of the
19

20   amounts stated on the disclosure statements were disbursed as promised. The five
21
     loan amounts shown on Nelnet as disbursed for 2014-2015 are showing $1,833,
zz
     $1833, $1,834, $998, and $1,001 as disbursed amounts. They do not match any
23

24   payments promised on the Disclosure Statement of$1667,$1667,$1666 and of
25
     $1167,$1167, $11661oan disbursements. Information provided on Nelnet for the
26

27

28




                                        COMPLAINT
                                                                                     17
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 1   2014-2015 year is incorrect, and therefore, the interest calculated on incorrect
 2
     amounts is also incorrect.
 3

 4
            54.   Two Records on Nelnet for the 15/16 year show $3,000 unsubsidized
 5

 6   loan, which would become $3,566 in 2024, and a subsidized loan of$5,500, which
 7
     would become $5,951 in 2024. $451 is for the interest on subsidized and $566 on
 a
 9   unsubsidized loan. Both due on October 28, 2024, with interest included.
10

ii         55.    Without any explanations from UC Davis, at the time unknown to the

iz   students the federal loans became Perkins loans with totally different conditions
13
     not disclosed to the student without any disclosures or copies of Promissory Notes
14

15   to be informed ofthe Perkins loans.
16

i~         56.    Perkins loans were created without an ID verification and with no
is
     copies of the signed Promissory Notes to the students. Finally, after 3 years of
19

Zo   demanding for copies of the instruments since 2018, in 2021 the long sought-after
21
     promissory note was finally given upon Office ofthe Ombudsmen's request to see
2a
     it. The collection agency Coast Professional Inc. forwarded a copy of it in USPS
23

24   Priority mail to the Plaintiff on July 28,2021, six years after issuing the first
25
     Perkins loan on Jun 18, 2015 when the signing supposedly happened two weeks
26

z~   after the end ofthe school year on June 04, 2015.
28




                                          CKI     ~Y-11
                                                                                         ~ ~;
  Case 2:22-cv-03767-MWF-PD Document 1 Filed 06/02/22 Page 19 of 83 Page ID #:19




  1                  It is surprising that the Office of the Ombudsmen found nothing
               57.
  2
         wrong with it and just closed the Plaintiffs complaint with no further explanations,
  3

  4      unless they became so confused to figure anything out of what happened.
  5

  6            58.   Exhibit 2 is a "Promissory Note". It has no verified signature of the
  7
         borrower, and the date is unclear. It shows 18 JUNE 15. It is an e-signed document
  a
  9      with no ID requirements, no loan amounts, no durations, no lending details, or

10
         dates on the loans. Plaintiff never saw this document before. Plaintiff would have
ii
         never signed this invalid instrument. By law, all loan amounts must be disclosed
is
13       when given. There were no disclosures at all. The list attached shows three Perkins
14
         loans 1415 - $4000.00, 1516 - $5500.00 and 1617 - $2996.00.
15

16
               59.   Exhibit 3 — is a statement of"Two Perkins loans" $5500 and $2996,
i~
is       dated 12/23/2020, submitted by Anne Krohn, a complaint resolution specialist
19
         from Department of Education which shows two disbursements not three. There
a o 'I
ai       was no Note found on the US Department of Education's Nelnet on 12/23/2020.

as
               60.    Exhibit 4 - is a copy from October 9, 2015 student award printout
23

24       retrieved from the UC Davis student financing office when Plaintiff applied for the
25
         emergency loan of$1,155. It shows unsubsidized loans for $3000 were offered but
26

a~       not accepted. In the finance person handwriting $500 more was offered on October
28




                                            COMPLAINT
                                                                                             19
 Case 2:22-cv-03767-MWF-PD Document 1 Filed 06/02/22 Page 20 of 83 Page ID #:20




 1
     9, 2015, in a subsidized loan to make up $8,500 when $12,500 was disbursed by
 2
     Ford. No Perkins loans were stated on the printout.
 3

 4
           61.    No $4,000.00 loan existed in the end of2020 either. The $4,000
 5

 6   Perkins loan for 2014-2015 year was made up by UC Davis after December 23,
 7
     2020, and before July 28, 2021, when collection agency mailed it to the Plaintiff.
 8

 9       (a)Exhibit 2 from July 28, 2021, shows the amount $4,000 for the 2014-
     2015 school year ending on June 04,2015.
io
ii        (b)Exhibit 4 from October 9, 2015,four months after alleged signing, the
     Perkins loan did not show up as it ever existed on October 9, 2015, and
iz
13
         (c)Exhibit 3 shows only two loans existed in the United States Department
     ofEducation records on December 23, 2020.
14
           62.    There was no $4,000 loan. Two Perkins loans were withdrawn from
15

16   the Nelnet database that show zero balance now, when suddenly three loans were
17
     given to the collector Coast Professional Inc., who is attempting to collect
is
19   $12,496.00 on three loans when only two were showing up in 2020.
20

21         63.   The school year ended on June 04, 2015, the note was signed on June
22
     18, 2015, it would be out of the 2014-2015 school year that ended on June 4, 2015,
23

24
     which would declare the loan amount of$4000 for the 14/15 schoolyear incorrect.

25
           64.   Plaintiff informed UC Davis financial office about the mismatch of
26

2~   the amounts. Plaintiff pointed out the discrepancy of changed loan amounts on the j
28




                                         COMPLAINT
                                                                                      20
 Case 2:22-cv-03767-MWF-PD Document 1 Filed 06/02/22 Page 21 of 83 Page ID #:21




 1
      Nelnet. Plaintiff became a target for harassment and discrimination. She placed her
 2
      education loans into forbearance due fraud and notified administrative offices
 3

 4    about the fraud. A few months later Nelnet showed much lesser amounts due, the
 5
      sum fell to around $24K.
 6

 7
            65.   In November of 2021, Plaintiff looked at Nelnet again and total
 s
 9    amount owed in loans to the government showed $18,017(Exhibit 1), after two
10
     Perkins loans were zeroed out, which is still incorrect because if the Perkins loans
~l
      are added back, it would again go over $40K. All loan amounts are still off. The
12

13    payments shown on Nelnet are for more than the amounts received by the student.
14

15          66.   There are big discrepancies in thousands of dollars. Roughly
16
     calculated: the Plaintiff had University grants awarded for $20,743 per year which ~
i~
18    were about the same in the first and the third year,($25,743-5,000 loan) as stated
19
     on Exhibit 4. Final cost ofPlaintiffs education shows $116,050.08 with most of it ~
zo
ai   covered by grants. Three years in grants would be approx. $62,229, and according

Za   to UC Davis schedule would leave $53,821 in loans Plaintiff did not receive. That
23
     ~ is too high. The maximum sum ofsubsidized, unsubsidized loans was disclosed by ~
24

25   ~ UC Davis $8,500 per year, and for three years it would sum to $25,500 that could
26
     ~ be given in student loans. Even if that amount was the maximum from Direct loans ~
2~

2s ~ at $12,500 per year, it would be $37,500 not $53,821. This is $16,321 more. The


                                         COMPLAINT
                                                                                         ~l l
 Case 2:22-cv-03767-MWF-PD Document 1 Filed 06/02/22 Page 22 of 83 Page ID #:22




     cost of$116,050.08 is incorrect. None of the amounts stated as loans match the
 2
     disbursements given.
 3

 4
           67.    In 2017, a teaching assistant Trisha Wong,et al. attacked the Plaintiff
 5

 6   with discrimination. Plaintiff filed an action in Northern District court, case
 7
     number 2:18-cv-03235 MCE-EFB (18-cv-03235) for discrimination. Plaintiff took
 s
 9   discrimination at its face value without realizing retaliation against her after she
10
     admitted her financial concerns to UC Davis. Plaintiff could not pay much
ii
     attention to financial issues after driven to an utmost stress filled with baseless
IZ

13   accusations from teaching assistants she had to fight against.
14

15         68.    An appeal was taken from a dismissal. The district court case was
16
     unlawfully dismissed without Court service for two almost years. This case was
i~
is   brought up on an appea120-17407, but the appellate court clerk Molly Dwyer from
19
     the 9th District Appellate Court buried the case, made up a court decision without
20
zi   signatures and after a date was given for an appellant's motion.

22
           69.    Clerk's actions do not fall under the clerk's jurisdiction when the date
23

24   was already set by the appellate division. In Forma Pauperis was granted through
25
     the district court already. Without involving appellate courts, Dwyer made up an
26

27

28




                                          COMPLAINT
                                                                                            »I
 Case 2:22-cv-03767-MWF-PD Document 1 Filed 06/02/22 Page 23 of 83 Page ID #:23




 1    order of dismissal, therefore acting out of the clerk's jurisdiction, and she closed
 2
      the case unilaterally as if she was an appellate judge.
 3

 4
            70.    Department of Justice and the Office of the United States Attorney
 5

 6    have done nothing, although, they were served via Registered Priority Mail with
 7
      Receipts Requested in November of2021 with case information.
 8

 9
            71.    The reason Plaintiff brings up 18-cv-03235 is because the Regents of
io
11
      University of California, Davis(UC Davis) will bring up this case, although, they
12
      were supposedly never served with it, they will find it and the United States
13
      Attorney has a copy ofthat complaint already, a claim from discrimination under
14

15   42 USC §61 O 1-6107 not on financial fraud under Title 18 USC §1006.
16

i~          72.   Plaintiff alleges this discriminative behavior was perhaps created
is
     against the Plaintiff in retaliation to cover up financial chaos created by UC Davis, ~
i9
20   after Plaintiff discovered what students would eventually be paying back after they
21
     finish their degrees, a chaos to divert attention away from financial problems.
22

23
            73.   Defendant UC Davis Recordkeeping is violated under Title 12 U.S.0
24
     §1829b and/or §1953 (if uninsured) and under Title 12 CFR 1006.18(b)for False, ~
25

26   ~ deceptive, or misleading representations.
27

28




                                          COMPLAINT
                                                                                             ~~
 Case 2:22-cv-03767-MWF-PD Document 1 Filed 06/02/22 Page 24 of 83 Page ID #:24




 i         74.    UC Davis is violating 18 U.S.0 §1006 with an intent to defraud

     students by making false entries into loans, reports and statements, making up loan
 3

 4   acceptances, issuing, or putting forth or assigning promissory notes, and other
 5
     obligations, while it participates or shares in, or receives directly or indirectly
 6

     government issued money, and is profiting, or benefitting through these
 s
     transactions, loans, contracts, or any other act of any such corporation, and
 9

io   therefore, the Regents of the University of California, Davis as an institution, or

ii   association, shall be fined not more than $1,000,000 or imprisoned not more than
is
     30 years, or both.
13

14
           75.    C.Defendant Coast Professional Inc. is in violation of collecting
15

16   funds created upon fraud committed of government appropriated funds in
17
     violation under Title 18 U.S.0 § 1006 and 12 CFR 1006.18(b) and (e).
18

19
           Defendant Coast Professional, Inc. collection agency statement from April
ao
21
     15, 2022, is attempting to collect on three Perkins loans for $17,374.23. Two

zz   Interest payments of$1,274.66 and $563.06; and a collection fee of $3,040.49 are
23
     added to the base amount ofthree loans in the amount of$12,496. This base
24

Zs   amount is wrong by $4,000, which would bring it down to $8,496.00 and the loans ~
26
     were Perkins loans never disclosed to the Plaintiff at UC Davis. This collection is
z~
zs   ongoing while diminishing Plaintiffs credit rating.


                                          COMPLAINT
                                                                                           ~-~
 Case 2:22-cv-03767-MWF-PD Document 1 Filed 06/02/22 Page 25 of 83 Page ID #:25




 1          76.    There were no disclosures of any interest or collection fees from the
 2
     ' collector, not to mention that the loans are fraudulent.
 3

 4
            Under Title(Code of Federal Regulations) 12 CFR 1006.18
 5

 6
          (b) False, deceptive, or misleading representations.

 s             (2)A debt collector must not falsely represent:
 9
                  (i) The character, amount, or legal status of any debt.
io
ii                (ii) Any services rendered, or compensation that may be lawfully

iz          received by any debt collector for the collection of debt.
13
          (e)Disclosures required —
14

15             (1) Initial communications. Adebt collector must disclose in its initial
16
     communication with a consumer that the debt collector is attempting to collect a
i~
is   debt and that any information obtained will be used for that purpose. If the debt
19
     collector's initial communication with the consumer is oral, the debt collector must
20
21
     make the disclosure required by this paragraph again in its initial written

22   communication with the consumer.
23

24         77.    Plaintiff did not receive an initial communication,just payment
25
     requests. Plaintiff demanded proof. Plaintiff demanded to see a copy ofthe note
26

z~   and copies of the bank checks cashed for the amounts the collections were based
28




                                           COMPLAINT
                                                                                          Z~
 Case 2:22-cv-03767-MWF-PD Document 1 Filed 06/02/22 Page 26 of 83 Page ID #:26




 1   on. Defendant sent a copy of the Promissory Note on July 28,2021, that is a
 2
     as an Exhibit 4, with a list of three Perkins loans stated by UC Davis. UC Davis is
 3

 4   not a lender. The only loan Plaintiff applied to from UC Davis is in the amount of
 5
     $1,155. That's it.
 6

           78.    There are no cancelled checks to the Plaintiff in the amounts claimed
 8

 9   by the collection agency. These amounts were not disbursed to the Plaintiff.
10
     Plaintiff is not responsible for the collections on the amounts not given to the
ii
     Plaintiff, because all funds given were disclosed to be federal direct subsidized and
ia
13   unsubsidized loans not the UC Davis loans to the student. All government Direct
14
     loans are in forbearance.
15

16
           79.    D. Defendant, Department of Education is providing funding for
i~
18   the student's financial aid and student loans while aiding fraud and
19
     mismanagement committed by the lending institutions as agencies of the
zo
2i   government's appropriated funds in violation under Title 18 U.S.0 § 1006.

22
           On October 16, 2018, Plaintiff mailed U.S. Department of Education an
23

24   application for borrower defense to loan repayment, including all loans in the
25
     application. There has been no action regarding this application. All loans are in
26

z~   forbearance for three consecutive times and the next payment is due 01/16/2027.
28




                                         COMPLAINT
                                                                                          ~~
     Case 2:22-cv-03767-MWF-PD Document 1 Filed 06/02/22 Page 27 of 83 Page ID #:27




 1     The loan amounts on Nelnet are false. The loans were not disbursed to the Plain
 2
       as allocated by the government.
 3

 4
             80.    The US Department of Education sent out a proof of two Perkins
 5

 6     Loans on 12/23/2020 as given to them by the lending institution they provided the
 7
       amounts to. They did not investigate the validity or the existence ofthe promissory
 a
 9     note the loans were based on; they did not see discrepancies without contacting the
10
       students. They were on the side ofthe institutions who provide them with made-up
ii
       numbers attached to the student's profile records. They were on the side with the
12

13     fraudsters. They aided, enabled, and agreed to the crimes committed.
14

15           81.   Department of Education did not audit the information given to them
16
       by the educational institutions who are making up false transactions to cover up
i~
18     their crimes when pulling government allocated funds to themselves. Institutions
19
       do not return the funds allocated to the students and pull the funds back. The lack
20
       of audit and investigation by just looking at the standard printed promissory note

       would've been sufficient to raise red flags, but they chose blind ignorance over the

       evidence.
24

25
             82.   Department of Education is guilty of mismanagement and fraud as
26

z~ ~ much as the institutions who are collecting funds from the government money.
z~



                                           COMPLAINT
                                                                                           27
 Case 2:22-cv-03767-MWF-PD Document 1 Filed 06/02/22 Page 28 of 83 Page ID #:28




 1          83.    U.S. Department of Education is violating 18 U.S.0 §1006 with an
 a
      intent to defraud students by making false entries into the loans, reports and
 3

 4    statements, making up loan acceptances, issuing, or putting forth or assigning
 5
      promissory notes, and other obligations, while it participates or shares in, or
 6

      receives directly or indirectly government issued money, and is profiting, or
 s
      benefitting through these transactions, loans, contracts, or any other act of any such
 9

io    corporation, and therefore, the United States Department of Education as an

ii    institution, or association, shall be fined not more than $1,000,000 or imprisoned
12
      not more than 30 years, or both.
13

14
            84.    E. U.S. Department of Justice is avoiding claims made by the
15

16   Plaintiff regarding funding for the student's financial aid and student loans
17
      through fraud and mismanagement committed by the lending agencies of the
18

19
      government's appropriated funds in violation under Title 18 U.S.0 § 1006.

20

21
            85.    U. S. Department of Education is a federal agency. It must abide by

22   federal laws and the Constitution of the United States. U.S. Department of Justice
23
     (DOJ)has Federal Bureau of Investigations(FBI) at its disposal to investigate
24

25   claims. Student loan debt has risen to trillions of dollars. Any reasonable person
26
      would assume DOJ to investigate or audit accuracy of such debt created by the
2~

2s   Department of Education.



                                          COMPLAINT
                                                                                          ~►~:~
 Case 2:22-cv-03767-MWF-PD Document 1 Filed 06/02/22 Page 29 of 83 Page ID #:29




 1           86.   Students must pay for debts they did not create. It was thrown upon
 2
      them by the institutions.
 3

 4
            87.    The lack of audits and investigations is why DOJ must be penalized.
 5

 6    is not acting in the interest of American people. This case is showing true evidence
 7
      of what is happening about largely underpaid disbursements, pullback profits to
 s
 9    institutions in made-up loans, and Plaintiff believes there are Millions ofstudents
10
      who have been taken the same way, without paying any attention to the finances,
11
      and are therefore stuck now with much higher loan payments on their loans than
is
13    they should have.
14

15          88.    DOJ is violating by not investigating the lending institutions for the
16
      violations under Title 18 U.S.0 §1006 with an intent to defraud students by maki
i~
18   false entries into loans, reports and statements, making up loan acceptances,
19
     ~ issuing, or putting forth or assigning promissory notes, and other obligations,
Zo
21
     ~ it participates or shares in, or receives directly or indirectly government issued

22   ~ money, and is profiting, or benefitting through these transactions, loans, contracts,
23
     ~ or any other act of any such corporation, and therefore, the United States
24

25   ~ Department of Justice as an institution, or association, shall be fined not more than
26
     ~ $1,000,000 or imprisoned not more than 30 years, or both.
2~

28




                                           COMPLAINT
                                                                                            29
 Case 2:22-cv-03767-MWF-PD Document 1 Filed 06/02/22 Page 30 of 83 Page ID #:30




 1                                         CONCLUSION
 a
 3         89.    Nelnet does not show any pullback funds institutions keep themselves
 4
     how disbursements allocated to the student were disbursed, student spreadsheets,
 5

 6   or the amounts allocated to the students. The pullback amounts did not go back to

     the government and were not disbursed to the student. These federal funds were
 s
 9   being held by the institution for their own profit in collecting interest on loans
10
     already allocated as direct loans.
ii
           90.    All loans that the Plaintiff is targeted with, were inaccurately stated by
12

13   defendant UC Davis. After discovery of this mismanagement, the loan amounts on
14
     Nelnet kept changing. One ofthe loans showed up as if it was taken when Plaintiff
15

16   was not even there. Other amounts were made up, pulled out, and not matching an}
17
     disclosures given.
is
19
           91.    Every lending institution must keep records of all transactions for at

20   least five to six years. The only reason a lender would avoid responding to the
21
     borrower's requests would be if they didn't have anything in files, if the evidence
z2
23   was contrary to the findings, or if they were covering up their wrongdoings.
24
           92.    Educational institutions are unilaterally controlling government funds
25

26   allocated to the students who have no control over it. Funds disbursed are without
27

28




                                          COMPLAINT
                                                                                           30
 Case 2:22-cv-03767-MWF-PD Document 1 Filed 06/02/22 Page 31 of 83 Page ID #:31




 1    the knowledge of the students who should know of every transaction because the
 2
      students must pay back the loans with interest when they leave.
 3

 4          93.   This is an unconstitutional behavior and violates student's rights to
 5
      pursuit of education, which is a liberty protected under the Fifth Amendment. It is
 6
      the taking ofthe Fifth Amendment right.
 a
                                              RELIEF
 9

to          WHEREFORE, Plaintiff demands judgment under 18 U.S.0 § 1006 in fines

ii   against defendants in the amount of up to One Million Dollars ($1,000,000.00)
iz
     from each entity or institution involved, and other costs of suit, and such other and
13

14   further relief as this court may deem just and proper.
15

16          WHEREFORE,Plaintiff demands defendants to pay penalty under Title 12
17
     §1829b for civil penalties as described in (j)(1)Penalty imposed. For Ten
is
19
     Thousand Dollars($10,000.00)for each wrongfully executed transaction and act

20
     committed.
21

22          A. Defendant LACC for Withholding three(3)transactions offederal
23
     student aid and one(1)transaction of Cal-grant while profiting from it, conspiring
24

25   ~ with UC Davis -violations under Title 18 U.S.0 § 1006 and Title 12 §1829b.
26

2~         [conspiracy, and mishandling of3 FASFA and one Cal-grant]
28




                                         COMPLAINT
                                                                                          ~i
 Case 2:22-cv-03767-MWF-PD Document 1 Filed 06/02/22 Page 32 of 83 Page ID #:32




 1          B. Defendant, the Regents ofthe Universities of California, Davis is
 z
      violating for lack ofrecord keeping, non-disclosure, mismanagement,fabrication
 3

 4   ', of loan amounts, false statements, interference with Nelnet portal, unexplained
 5
      amounts of disbursements, and padding loan amounts as violations under Title 18
 6

      U.S.0 § 1006. Defendant UC Davis Recordkeeping is violated under Title 12
 a
      U.S.0 §1829b (if insured), and/or §1953 (if uninsured). Under Title 12 CFR
 9

io    1006.18 (b)(2)(i) and (ii) on collections, and under Title 12 CFR 1006.18 (e)(1) for

ii    nondisclosures to the Plaintiff.
12

13         [total 16 transactions of violations in several sections]
14

15          2 wrongfully stated unsubsidized loan transactions in 2014-2015.
16
            3 discrepancies in subsidized loan amounts(padding) distributed 2014-2015.
            2 1oan discrepancies(padding) in 2015-2016.
i~          5 interest discrepancies —overpaid interest.
is          3 attempted amounts to collect on false amount Perkins loans.
            1 'discovered' $4,000 Perkins loan perked into existence after 2020.
19

20

ai          C. Defendant Coast Professional Inc. for violations protected under Title 12

zz   CFR 1006.18 (b)(2)(i) and (ii) on collection from three(3) made-up accounts and
23
     (1)Under Title 12 CFR 1006.18 (e)(1) for nondisclosure to the Plaintiff.
24

25         [total4 transactions]
26
            D. United States Department of Education violation is for not adequate
27

zs   oversight, lack of disclosures, audits and recordkeeping, lack of security over


                                          COMPLAINT
                                                                                          ;,
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  1
      ~ Nelnet portal, mismanagement of loans, and employees working with no financial
  z
      qualifications to be working as financial advisors or loan processors. Plaintiff is
  3

  4   ' asking for ~ maximum penalty of One Million Dollars [$1,000,000] against United
  5
      States Department of Education for violations under Title 18 U.S.0 § 1006.
  6

             E. U.S. Department of Justice violation is for lack of oversight, lack to

      follow up with claims, lack of investigations, lack of security and ignorance over

io    Nelnet portal as well as Department of Education's audits in follow up complaints.

ii    Plaintiff is asking for maximum penalty of One Million Dollars [$1,000,000.00]
12
      against U.S. Department of Justice for violations under Title 18 U.S.0 ~ 1006.
13

14
                                 CERTIFICATION AND CLOSING
15

16           Under Federal Rule of Civil Procedure 11, by signing below, I certify to the
17
      best of my knowledge, information, and belief that this complaint:(1) is not being
18

19    presented for an improper purpose, such as to harass, cause unnecessary delay, or
20
      needlessly increase the cost of litigation;(2)is supported by existing law or by a
21

22
      nonfrivolous argument for extending, modifying, or reversing existing law;(3) the

23
      factual contentions have evidentiary support or, if specifically so identified, will
24
      likely have evidentiary support after a reasonable opportunity for further
25

26    investigation or discovery; and (4)the complaint otherwise complies with the
2"I
      requirements of Rule 11.
2R




                                           COMPLAINT
                                                                                             ~~
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 1          I agree to provide the Clerk's Office with any changes to my address where
 2
     ~ case-related papers may be served. I understand that my failure to keep a current
 3

 4   ~ address on file with the Clerk's Office may result in the dismissal of my case.
 5
            DATED: June 2"d, 2022                   Respectfully submitted,
 6

 7

 8
                                                      B
 9                                                        Plaintiff,Pro Se
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28




                                          COMPLAINT
                                                                                           3~
Case 2:22-cv-03767-MWF-PD Document 1 Filed 06/02/22 Page 35 of 83 Page ID #:35




                             Exhibit A




                                                                                 ~l(~
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12120/2014                                                                UC Davis Financial Aid Offce- MyAwards

                                                                                    `~     ~

   FINANCIAL AID                                                                     ~'.
   nNu SCHOLAR5HIP5

                                                  The deadline to submit requirements is July 15, 2014.
                                     We cannot disburse financial aid for any accepted funds if requirements are not satisfied.
                        U nsatisfied requirements and late or missing documents will delay disbursement and/or result in cancellation of
                                                                               funds.


                      Melike Dewey                                                                                    MyAwards for 2014-2015

                                                            UC Day is Financial .aid Office Official Award Notice

                      Need-based financial aid is based upon the information provided on your FAFSA or Dream Act Application, and any
                      additional documents submitted including outside resources. Federal, state and university funds are limited and subject to
                      a vailability at the time they are offered. The amounts and types of aid are subject to change or cancellation without prior
                      notice.

                      Estimated Cost of Attendance for Off-Campus Student
                      Tuition and Fees                                                                              $13,896.00
                      Books and Supplies                                                                             $1,560.00
                      Basic Living (Room &Board)                                                                    $10,129.00
                      Transportation                                                                                 $1,358.00
                      Health Insurance                                                                               $1,869.00
                      Other                                                                                            $150.00
                      Total Estimated Cost of Attendance for Off-Campus Student                                                      $28,962.00



                      Contributions '
                      Student Self-Help                                                                                 $0.00
                      Expected Family Contribution (EFC)                                                                $0.00
                      Total Contributions                                                                                                   $0.00

                      Financial Need                                                                                                 $28,962.00

                      Estimated Financial Aid
                      Fed Direct Subsidized Loan                                                                     $5,000.00
                      Fed Direct Unsub Loan                                                                          $3,500.00

https:lff nand algid.ucdavis.edWM yAwards/                                                                                                           1/2




                                                                                                                                                     ~Y
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12/2012014                                                                    UC Davis Financial Aid Ofice- MyAwards

                       Federal Pell Grant Program                                                                         $5,730.00
                       U niversity Campus Fee Grant                                                                         $525.00
                       U niversity Grant                                                                                 $14,207.00
                      Total Estimated Financial Aid                                                                                         $28,962.00

                      Remaining Cost                                                                                                             $0.00



                      Estimated Financial Aid by Term

                                                                                        Fall                Winter           Spring
                      Award                                                            2014                  2015             2015                Total
                      Fed Direct Subsidized Loan                                 $1,667.00              $1,667.00         $1,666.00           $5,000.00
                      Fed Direct Unsubsidized Loan                               $1,167.00              $1,167.00         $1,166.00           $3,500.00
                      Federal Pell Grant Program                                 $1,910.00              $1,910.00         $1,910.00           $5,730.00
                      U niversity Campus Fee Grant                                 $175.00                $175.00           $175.00            $525.00
                      U niversity Grant                                          $4,736.00              $4,736.00         $4,735.00          $14,207.00
                      Total                                                     $9,655.00              $9,655.00         $9,652.00          $28,962.00


                                            UC Davis is authorized by the above-named student to release this financi:il aid information.




https~,/~nancialaid.ucdavis.ediJMyAwards/                                                                                                                 2/2




                                                                                                                                                          3~7
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                             Exhibit B




                                                                                 ~~
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                                                                                                                        Disclosure Statement
                                              U.S. Department of Education                                              William D. Ford Federal Direct Loan Program
~1~~~                                         P.O. Box 9003
                                              Niagara Falls, NY 14302-9003

loans
ltlnpm J. Fora Frdunl Olq~t lnss Pmp~
                                                                                                                                                              Direct Subsidized Loan
                                                                                                                                                            Direct Unsubsidized Loan


  1. Name and Address                                                                                                                     2.Date of Disclosure Statement
    Dewey, Melike A                                                                                                                          10/02/2014
    P.O. Box 1005                                                                                                                         3.Area Code/Telephone Number
                                                                                                                                              00000003239738384
     Los Angeles, CA 90078


 4.School Name and Address                                                                                                                5.School Code/Branch
   University Of California, Davis                                                                                                            G01313
   One Shields Avenue


     Davis, CA 956168558


 6.Loan Identification Numbers)                                           7. Loan Periods)                                                8.Loan Fee
    XXXXX5233SISG01313002                                                    10/02/2014 — 06/04/2015                                           1.073

9. Subsidized Eligibility Type:                          10. Subsidized Usage:                             11. Total Subsidized Usage: 12. Remaining Subsidized Eligibility:
  Undergraduate
      The information provided is anticipated -based un loans that your school plans to disburse to yuo- and is subject to change based on your luwre enrollment and bortowing practices.

 13.IniormaHon about the loans)that your school plans to disburse(pay out) follows. This information is explained in detail on the
   back. The actual disbursement dates and amounts may be different than the dates and amounts shown below. The school and your
   servicer will notify you of the actual disbursement dates and amounts.

   Direct                         Gross Loan Amount                   —     Loan Fee Amount                  +      Interest Rebate Amount                      =     Net Loan Amount
   Subsidized                    $5000.0                              —     $51.0                            +      $0.0                                        = $4949.0
   Loan
                                  Your school plans to disburse the Net Loan Amount as follows:
                                  Date                            Net Disbursement Amount                                 Date                             Net Disbursement Amount
                                 03/20/2015                                               $      1649.0
                                 1 2/26/2014                                              $      1650.0
                                 10/01/2014                                               $      1650.0




   Direct                         Gross Loan Amount                   —     Loan Fee Amount                  +      Interest Rebate Amount                     =      Net Loan Amount
   Unsubsidized                  $0.00                                —     $0.00                            +      $0.00                                      =      $0.00
   Loan
                                  Your school plans to disburse the Net Loan Amount as follows:
                                 Date                             Net Disbursement Amount                                 Date                            IYet Disbursement Amount




                                   If there are further disbursements to be made on the loans)the school will inform you.



                                                                                                                                                                                            .~~~
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   Disclosure Statement(continued)

   This Disclosure Statement provides information about the Direct Subsidized Loan and/or Direct Unsubsidized Loan that
   your school plans to disburse(pay out) by crediting your account at the school, paying you directly, or both. It replaces any
   Disclosure Statements that you may have received previously for the same loan(s). Keep this Disclosure statement for your
   records.

   Before any money is disbursed, you must have a signed Direct Subsidized Loan/Direct Unsubsidized Loan Master
   Promissory Note(MPN)on file. The MPN,the Borrower's Rights and Responsibilities statement, and the Plain Language
   Disclosure explain the terms of your loan(s). If you have any questions about your MPN or this Disclosure Statement,
   contact your school.

   If you receive your first federal student loan after June 30, 2013, there are limits on how long you can receive Direct
   Subsidized Loans. In general, you may not receive Direct Subsidized Loans for more than 150% of the published length of
   your program (measured in academic years). This is called your "maximum eligibility period". Items 9-12 on the front of
   this Disclosure Statement provide:

            Item 9: The Subsidized Eligibility Type, tracked as either Undergraduate Program or Non-Credential Teacher
            Certification Program.
            Item 10: The Subsidized Usage Period associated with the Direct Subsidized Loan, if any, you are receiving.
            Item I1: The Total Subsidized Usage to this point in time, including the Subsidized Usage Period from Item 10.
            Item 12: The Remaining Subsidized Eligibility for the program associated with the Direct Subsidized Loan,if any,
            you are receiving.

   Item 13 on the front of this Disclosure Statement provides the following information about the amount of each loan that
   your school plans to disburse to you:

            Cross Loan Amount -This is the total amount of the loan that you are borrowing. You will be responsible for
            repaying this amount.
            Loan Fee Amount -This is the amount of the fee that is charged on your loan. It is based on a percentage of your
            Gross Loan Amount. The percentage is shown in item 8. The Loan Fee Amount will be subtracted from your Gross
            Loan Amount.
            Interest Rebate Amount -This is the amount of an up-front interest rebate that you may receive to encourage the
            timely repayment of your Direct Loans. If you receive a rebate, the Interest Rebate Amount will be added back after
            the Loan Fee Amount is subtracted.

            To keep an up-front interest rebate that you receive on your loan, you must make all of your first 12 required monthly
            payments on time (each of your payments must be received no later than 6 days after the due date) when your loan
            enters repayment. You will lose the rebate if you do not make all of your first 12 required monthly payments on time.
            This will increase the amount that you must repay.

           Net Loan Amount -This is the amount of your loan that remains after the Loan Fee Amount is subtracted and the
           Interest Rebate Amount is added. The school will disburse the Net Loan Amount to you by crediting your account at
           the school, paying you directly, or both.

            Item 13 shows your school's plan for disbursing your Net Loan Amount to you. The actual disbursement dates and
            amounts may be different than the dates and amounts that are shown. Your school and your servicer will notify you
            of the actual disbursement dates and amounts.

     Before your loan money is disbursed, you may cancel all or part of your loans) at any time by notifying your school.

     After your loan money is disbursed, there are two ways to cancel all or part of your loan(s):

           If your school obtains your written confirmation of the types and amounts of Title N loans that you want to receive
           for an award year before crediting loan money to your account at the school, you may tell the school that you want to
           cancel all or part of the loan within 14 days after the date the school notifies you of your right to cancel all or part of
           the loan, or by the first day of the school's payment period, whichever is later (the school can tell you the first day of
           the payment period). If your school does not obtain your written confirmation of the types and amounts ofloans you
           want to receive before crediting the loan money to your account, you may cancel all or part of the loan by informing
           the school within 30 days of the date the school notifies you of your right to cancel all or part of the loan. In either
           case, the school will return the cancelled loan amount to the U.S. Department of Education.

           If you ask your school to cancel all or part of your loans) outside the timeframes described above, your school may
           process your cancellation request, but it is not required to do so.

           Within 120 days of the date your school disburses your loan money(by crediting the loan money to your account at
           the school, by paying it directly to you, or both), you may return all or part of your loans)to the U.S. Department of
           Education. Contact your servicer for guidance on how and where to return your loan money.
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    You do not have to pay interest or the loan fee on the part of your loan that is cancelled or returned within the timeframes
    described above, and if you received an up-front interest rebate, the rebate does not apply. Your loan will be adjusted to
    eliminate any interest, loan fee, and rebate amount that applies to the amount of the loan that is cancelled or returned.

    Your school determines what loans, if any, you are eligible to receive. If you have questions regarding your loan eligibility,
    the next steps in the processing of your loan, when the loan will be disbursed (paid out), or no longer wish to receive the
    loan, contact your school's financial aid office.

    After the first disbursement of your loan has been made, your loan will be assigned to a loan servicer and you will be
    provided with the servicer's name, address and contact information. Your servicer will service, answer questions about, and
    process payments on your loan after you enter repayment.
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                               Plain Language Disclosure for Direct Subsidized Loans and Direct Unsubsidized Loans
                                                   William D. Ford Federal Direct Loan Program
1. General information. You are receiving a Direct Subsidized Loan and/or Direct                  In addition, if you continue to be enrolled in any undergraduate program after you have
Unsubsidized Loan to help cover the costs of your education. This Plain Language                  received Direct Subsidized Loans for your maximum eligibility period, or if you enroll in
Disclosure (Disclosure) summarizes information about your loan. Please read this Disclosure       another undergraduate program that is the same length as or shorter than your previous
carefully and keep a copy in a safe place. In this Disclosure, the words "we," "us,"and "our"     program, in most cases (there are certain exceptions as provided under the Act) you will
refer to the U.S. Department of Education (the Department).                                       become responsible for paying the interest that accrues on your Direct Subsidized Loans
                                                                                                  during all periods, beginning on the date of the enrollment that causes you to become
4Ve may use a servicer to handle billing and other communications related to your loan. If you
                                                                                                  responsible for paying the interest. We will notiPj you if you become responsible for paying al!
have questions about your loan, contact dour senricer. Your servicer's telephone number and
                                                                                                  of the interest that accrues on your Direct Subsidized Loans.
address are shown on correspondence you will receive related to your loan.
                                                                                                  You may obtain additional information about the limitation on Direct Subsidized Loan eligibility
You must repay this loan, even if you are unhappy with your education, do not complete your
                                                                                                  for first-time borrowers on or after July 1, 2013 from your school's financial aid office or at
program of study, or cannot find work in your area of study. Borrow only the amount you can
                                                                                                  StudentAid.gov.
afford to repay, even if you are eligible to borrow more.
                                                                                                  6. Use of loan money. You may use your loan money only to pay for educational expenses
By signing the Master Promissory Note, you certified under penalty of perjury that if you
                                                                                                  (for example, tuition, room, board, books) at the school that determined you were eligible to
have been convicted of, or if you have pled nofo contendere(no contest) or guilty to, a crime
                                                                                                   receive the loan. If you accept this loan, your eligibility for other student assistance may be
involving fraud in obtaining federal student aid funds under Title IV of the Higher Education
                                                                                                   affected.
Act of 1965, as amended, you have fully repaid those funds to us, or to the loan holder in the
case of a Title IV federal student loan.                                                          7.Information you must report. While you are still in school, you must notify your school
                                                                                                  if you (i) change your address or telephone number;(ii) change your name (for example,
 Information about your loans will be reported to the National Student Loan Data System
                                                                                                  maiden name to married name);(iii) do not enroll at least half-time for the loan period certified
(NSLDS). Information in NSLDS is accessible to schools, lenders, and guarantors for specific
                                                                                                  by the school, or do not enroll at the school that certified your eligibility for the loan; (iv) stop
authorized purposes.
                                                                                                  attending school or drop below haft-time enrollment; or (v) graduate or transfer to another
2. Master Promissory Note(MPN). You are receiving a loan under an MPN that you signed             school
previously. You may receive additional loans under that MPN for up to 10 years if the school
                                                                                                  You must also notify your servicer of any of the above changes at any time after you receive
that you attend is authorized to use the multi-year feature of the MPN and chooses to do so.
                                                                                                  your loan. In addition, you must notify your servicer if you (i) change employers or if your
If your school is not authorzed to use the multi-year feature of the MPN or chooses not to do
                                                                                                  employer's address or phone number changes; or (ii) have any other change in status that
so, or'rf you do not want to receive more than one Ioan under the same MPN, you must sign
                                                                                                  affects your loan (for example, if you received a deferment but no longer meet the eligibility
a new MPN for each loan. If you do not want to receive more than one loan under the same
                                                                                                  requirements for that deferment).
MPN, you must notify your school or your servicer in writing.
                                                                                                  8.Amount you may borrow. There are limits on the amount you may borrow each academic
3. Loan terms and conditions. This Disclosure summarizes information about your loan.
                                                                                                  year(annual loan limits) and the amount you may borrow in total for undergraduate and
Please refer to your MPN and the Borrower's Rights and Responsibilities Statement that
                                                                                                  graduate study (aggregate loan limits), as explained in more detail in the Borrower's Rights
you received previously for the complete terms and conditions of your loan. If you need
                                                                                                  and Responsibilities Statement. You cannot borrow more than these limits. The annual and
another copy of the Borrower's Rights and Responsibilities Statement, contact your servicer.
                                                                                                  aggregate loan limits are as follows:
Unless we tell you otherwise in this Disclosure, your MPN and the Borrower's Rights and
Responsibilities Statement control the terms and conditions of your loan. Loans made under                                                    Annual Loan Limits
your MPN are subject to the Higher Education Act of 1965, as amended (the HEA), and
federal regulations(we refer to the HEA and these regulations as "the AcY'). Any change                                              Dependent Undergraduates
to the Act that affects the terms of the MPN that you signed will be applied to your loans in         ~                (exceptstudents whose parents gnnot borrow PLUS loans)
accordance with the effective date of the change.
                                                                                                          First Year(freshman)                          $5,500(maximum $3,500 subsidized)
4. Direct Subsidized Loans and Direct Unsubsidized Loans. Direct Subsidized Loans are
                                                                                                          Second Year (sophomore)                       $6,500(maximum $4,500 subsidized)
available only to undergraduate students.(Graduate and professional students were eligible
to receive Direct Subsidized Loans for periods of enrollment that began before July 1, 2012.)             Third Year Qunior) and Beyond                 $7,500(maximum $5,500 subsidized)
Direct Unsubsidized Loans are available to both undergraduate students and graduate or
                                                                                                      ~                             Independent Undergraduates
professional students.
                                                                                                                   (and dependent students whose parents cannot borrow PLUS loans)
To receive a Direct Subsidized Loan, you must have financial need. Except as explained
                                                                                                          First Year(freshman)                          $9,500(maximum $3,500 subsidized)
in Item 10 of this Disclosure, you are not required to pay the interest that accrues on Direct
Subsidized Loans while you are in school, during the grace period, during deferment periods,              Second Year(sophomore)                        $10,500(maximum $4,500 subsidized)
and during certain periods of repayment under the Income-Based Repayment Plan and the
                                                                                                          Third Year Qunior) and Beyond                 $12,500(maximum $5,500 subsidized)
Pay As You Eam Plan.
Direct Unsubsidized Loans are not based on financial need. You must pay the interest that
accrues on Direct Unsubsidized Loans during all periods. For more information on interest         '                                Graduate and Professional Students
charges, see Item 10.
                                                                                                          For loan periods beginning before                         $20,500
5. Time limitation on Direct Subsidized Loan eligibility for first-time borrowers on                      July 1, 2012:                                    (maximum $8,500 subsidized)
or after July 1, 2013. if you are afirst-time borrower(see the Borrower's Rights and
Responsibilities Statement that you received previously) on or after July 1, 2013, there is               For loan periods beginning on or after                        $20,500
a limit on the maximum period of time (measured in academic years) that you can receive                   July 1, 2012:                                            (unsubsidized only)
Direct Subsidized Loans.
                                                                                                                                          Aggregate Loan Limits
In general, if you are afirst-time borrower on or after July 1, 2013 you may not receive Direct
Subsidized Loans for more than 150% of the published length of your program of study.             ri                                 Dependent Undergraduates
This is called your "maximum eligibility period°For example, if you are enrolled in a 4-year
                                                                                                                       (except students whose parents cannot boRow PLUS loans}
bachelor's degree program, the maximum period for which you can receive Direct Subsidized
Loans is 6 years(150% of 4 years = 6 years).                                                                                     $31,000(maximum $23,000 subsidized)
Your maximum eligibility period is based on the published length of the program in which you      i                                Independent Undergraduates
are currently enrolled. This means that your maximum eligibility period can change if you                         (and dependent students whose parents cannot borrmH PLUS ioansl
change programs. If you receive Direct Subsidized Loans for one program and then change
                                                                                                                                 $57,500(maximum $23,000 subsidized)
to a different program, the period of time for which you received Direct Subsidized Loans for
the earlier program will generally count against your new maximum eligibility period.                                             Graduate and Professional Students
After you have received Direct Subsidized Loans for your maximum eligibility period, you                                         $138,500(maximum $65,500 subsidized)
are no logger eligible to receive additional Direct Subsidized Loans, and if you are enrolled
in school you may become responsible for paying interest on your Direct Subsidized Loans.         9. Interest rate. The interest rate for Direct Subsidized Loans and Direct Unsubsidized Loans
You may continue to receive Direct Unsubsidized Loans. We will notify you if you are no           varies depending on when the loan is first disbursed and other factors, as explained below.
longer eligible to receive additional Direct Subsidized Loans.
                                                                                                                                                                                     Page 1 of4
                                                                                                                                                                                 Revised 12/2013

                                                                                                                                                                                                          ~I
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                  Exhibit LACC email




                                                                                 4~
Gmail - LACC Financial
           Case        Aid Appeal
                   2:22-cv-03767-MWF-PD                   https://mail.google.com/maiVu/0?ik=e6aa0f5d3
                                               Document 1 Filed  06/02/22 Page 44 of 83 Page              ID #:44
                                                                                                      8&view=pt&search=al I&...




               ~m~~~                                                        Melike Dewey <melike.dewey@gmail.com>



        LACC Financial Aid Appeal
        1 message

        AidAppeals, LACC <AidAppeals@lacitycollege.edu>                                 Tue, Apr 28, 2020 at 3:49 PM
        To: Melike Dewey <deweyma8708@student.laccd.edu>,"melike.dewey@gmail.com" <melike.dewey@gmail.com>

         Hello Melike,

         Your financial aid appeal at Los Angeles City College has been approved! The following courses on your
         Educational Plan were not included in your approval: LAW 003 not needed for Rad Tech program.
         LRNFND 040 not required for entry into the Rad Tech program (however this will not affect the amount
         of your Spring 2020 disbursement).

         Cordially,
         Financial Aid Office
         Los Angeles City College




                                                                                                                          ~~
l ofl                                                                                                       7120/2020, 11:36 AM
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                         Exhibit 1-UC




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                  Case 2:22-cv-03767-MWF-PD Document 1 Filed 06/02/22 Page 46 of 83 Page ID #:46
                                                                                                                                             Melike Dewey
   ~i4'Z`tY of C
                                                                                                                                            999859346
       ;: +~          University of California Davis
           o              Accounts Receivable                                                                                                 19-OCT-2017
 \~ -=    ?               One Shields Avenue                Billing Statement                                                                 15-NOV-2017
                         Davis, CA 95616-8709
          OAv~S




                                                                                                                                               1


                                               * PREVIOUS BILLED BALANCE *                                             5.00
                                - CURRENT PAYMENTS -
    201705           26-SEP-17
                           Federal Perkins Loan-Smr                                                                                        -2,504.00
                             * CURRENT BILLED BALANCE *               2,509.00
   -------------------------------------------------------------------------------
   -------------------------------------------------------------------------------
   PAST DUE: 5.00         FUTURE BALANCE: .00           TOTAL DUE: 2,509.00
   -------------------------------------------------------------------------------




          "Registration fee amounts above are as currently estimated for the term indicated. Every effort will be made to keep fees
          at this level, however given continuing budget uncertainties, circumstances may require an adjustment in this amount."
ZSRCBIL                                                                                                                                        REPRO GflAPMICS
                                                                                                                                                        648

                               Mail to Cashier's Office. University of California, Davis, PO Box 989062, West Sacramento, CA, 95798-9062
                                              Please return this stub with your check made payable to: UC Regents.
                     `b
                           t

                                    Payment deadlines may vary from the statement date for some
                                                                                                                      Account No.          '
                                                                                                                                           ''~' •
                                    line items. Registration fees are due according to the schedule
                                    published in the Class Schedule and Registration Guide; Housing               Statement Date                •         ~

  UCDAVIS                           payments are due according to the terms of your contract. Please
                                    visit http://studentaccounting.ucdavis.edu for further information.                  Date Due                  •      ~

     ~~ ~ ~ ~ ~                                                                                                   TOTAL DUE                         ~. ~ ~
                                                                                                                   A mount Enclosed


                                                                                                           Students may change address at:
              Nlelike Dewey
                                                                                                           http://sisweb.ucdavis.edu (choose
              P.O. box 1005
                                                                                                           personal information /update address)
              Los Angeles, LOS 901;78



                                                                                                1001000000002509009998593460                                     J,~
                                                                                                                                                                 ~~-
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                         Exhibit 2-UC




                                                                                 ~~
         Case
        Dept     2:22-cv-03767-MWF-PD
             1910-~
        PO Boy 1259
                                                                                                                                  ~Iltran~
                                                                                Document 1 Filed 06/02/22 Page 48 of 83 Page ID #:48

        Oaks PA 19.1~G                                                                                                         Alltran Education, Inc.
                                                                                                                  G506 S LEWIS \\ li S1'E 2G0 • '1'IiLSAOfi 7x136-1091
        IIIIII II I'I1 II I~ ~'~I~II II III IIII III III I I I'~III III III                                                (R00)377-1904 • Fay(G30) 225~a261

                                                                                                      Alltran Education Acct #: X2202
                                                                                                      Principal: $209.00
                                                                                                      Interest: $U.00
        Apr 30, 2U 18                                                                                 Collection Cost: $0.00
                                                                                                      Fees &Other Non-Collection Charges: $0.00
                                                                                                      Total Balance: $2509.00

        I ~~I~I~I~~~~~~'~I'll'~I'I~~~~'I~I~Ii~~'I'I'~'I'I'~~"I'~~~I I'~I'I             X23338-682
                                                                                                      Alltran Education, Inc.
      ~,,,~,        f1ELIKE DEWEY                                                                     PO BOX 722920
     '•tir:         PO BOX 1005                                                                       HOUSTON TX 77272-2920
     G03?.5
                    L 0 S ANGELES C A                         90078-1 D 05                            ~~~ n ~~i~i~ii~i~~~~i~ii~i~i~~i~~i~ n i i~i~~~~ie a(i~~~ n ~~~~~i~




        If you ~~ould like to make aii on-line pa~Inent, please visit, tiv~itiv.{lelrn~~xri:conr                                  mount t:nclosed $

                                                                                    C're~litor       Amt(hve~l
                                                                              UNIV OF CAI.IFORMA-DAMS, UC I) 2 09.00



        A mount O«ed: $209.00                                                   Alitran Education Account #: X2202
        Re/Original Creditor: UNIV OF CALIFORNIA-DAVIS
        Dear Melike Dewey,
        Your above referenced debt has been placed with our office for collection. Should you elect to resolve your account
        you can do so as follows:
                      • Please call JEANETTE HODGSON at (800) 377-1904 X1123
                        Office Hours are Sam to 9pm (CST) Monday -Thursday, Sam to 5pm (CST) Friday,
                        Sam to 12pm (CST) Saturday.
                      • Mail check, money order, or cashier's check payable to Alltran Education, Inc. to our address shown
                        a bove.
                      • Pay your account on-line at Alltran Education, Inc.'s self-pay site....www.helpupay.com
        Unless you notify this office within 30 days after receiving this notice that you dispute the validity of the debt or any
        portion thereof, this office will assume this debt is valid. If you notify this office in writing ~riithin the thirty day period
        that the debt, or any portion thereof, is disputed, this office will: obtain verification of the debt or obtain a copy of a
        judgment and mai! you a copy of such judgment or verification. If you request this office in writing within 30 days
        from receiving this notice, this office will provide you the name and address of the original creditor, if different from
        the current creditor.
        Thank you in advance for your anticipated cooperation.
        Sincerely,
        JEANETTE HODGSON
        Toll Free: (800) 377-1904 X1123



         This communication is from a debt collector. This is an attempt to collect a debt and any information obtained ~~~ill be used for
                                                                    that purpose.
        As of the date of this letter. you owe the total balance due reflected abo~~e. Because of interest. late charges. and other charges
        that may ~ar~~ from da} to da~~, the amount due on the day }ou pay nia~ be greater. As a result, if you pay the amount sho~~n
        above. an adjustment may be necessan after ire receive •our payment, in «hick e~~ent eve will contact }~ou. For further
        information regarding your balance or interest charges, ~~rite the undersigned or call 1.800.211.0-432.
              See the re~~erse side and/or additional pages)for more information including inforniation about e-mail communications.
          6 06 S LEWIS AVE STE 2fi0 •TULSA,OK 74 1 36-109 1 • P: 630. 74.3113 •800.21 L0432 • F: fi30.~7~.O110 • uwtii~.alltrm~.cnnr                                                    ff~7
 '°'=                 Ot2ice Hours: Mon-1hu 8:OOam to 9:OOpm, Fri 8:OOam to ~:OUpm, Sat 8:OOam to 12:OOpm Central lime                                                                  T~
~.       .~s                                                                                                                                                               123338-336-1363
Case 2:22-cv-03767-MWF-PD Document 1 Filed 06/02/22 Page 49 of 83 Page ID #:49




                         Exhibit 3-UC
Case 2:22-cv-03767-MWF-PD Document 1 Filed 06/02/22 Page 50 of 83 Page ID #:50




   Melike Dewey
   PO Box 1005
   Los Angeles, CA 90078

   November 1, 2018

   Accounting and Financial Services                                 Student Accounting
   One Shields avenue                                                PO Box 989062
   Davis, CA 95616-8504                                              W Sacramento, CA 95798


   UCD ID # 999859346

   I n response to your letter dated October 16, 2018:

  Your records are incorrect. I do not owe you anything. I am not delinquent in any debt. I did not
  a pply for this $ 2,509 debt you are attempting to collect from me. I was done with everything to
  do with your university by July of 2017. Any debts initiated after July 2017 do not belong to me.
  All university debts must be stricken from my records.

  You have 30 days from the date of this letter to correct your mistakenly reported delinquencies
  and collection attempts.

  Thank you for your cooperation.



  Melike Dewey




                                                                                                      ~~
Case 2:22-cv-03767-MWF-PD Document 1 Filed 06/02/22 Page 51 of 83 Page ID #:51




                         Exhibit 4-UC




                                                                                 ~'a
      Case 2:22-cv-03767-MWF-PD Document 1 Filed 06/02/22 Page 52 of 83 Page ID #:52
UNNERSITY OF CALIFORNIA, DAVIS                                                                                  ...os
                                                                                                     ::'~S~tY

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BERKLLEI'   UAVIS   IR\'NL   LOS ANGELES   11ERCLU   kl\'LKSIUL   SAN UIEGO   S~~N i~{LW CISCU '~         ~         o ~i s,~n rn unkts:~k,~   s:~~ i,~ c:hur
                                                                                                  W    -:           A
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                                                                                                         X668'


ACCOUNTING AND FINANCIAL SERVICES
ONE SHIELDS AVENUE
DAMS,CALIFORNIA 95616-8504




    November 30, 2018


    Melike Dewey
    P.O. Box 1005
    Los Angeles, CA 90078



    R~ ;;CC IG: ^?9~( 3~~~, Dispute of L;;b; Q~ce~ved 11/5/18



    Melike:

    The balance of $2509.00 is due to 2 charges. A $5.00 Health Center charge posted at the end of August
    2017. The 8/28/17 date of the charge on your student account is not necessarily the date of service with the
    Health Center, as Health Center only feeds charges to the student accounts once a month. Our office does
    not have access to the specifics of health center charges and services so, if you are unsure of what that
    charge pertains to, please contact the Health Center at 530-752-2300.

   The remainder of the balance, $2504.00, is due to the reversal of a Perkins loan you were originally awarded
   for summer sessions. I have contacted the Financial Aid Office regarding the reversal of your Perkins loan
   and they indicated that when you submitted a change in aid form to the Financial Aid office for the summer
   sessions term due to a change in units (dropping 4 units from summer sessions), they had to revise your
   budget for the summer and you were no longer eligible for your previously awarded Perkins loan. If you have
   any questions regarding that reversal of your Perkins funding for the summer sessions 2017 term, please
   contact the Financial Aid Office at 530-752-2390 or via the online portal at: https:/lmy.ucdavis.edu/ask us/


   Sincerely,




   Samantha Chenoweth
   Student Accounting
   2100 Dutton Hall
   One Shields Avenue
   Davis, CA 95616-8709
   530-752-3649

    Enc: copy of Student Account Summary




                                                                                                                                                               ~I
Case 2:22-cv-03767-MWF-PD Document 1 Filed 06/02/22 Page 53 of 83 Page ID #:53




                         Exhibit 5-UC
Case 2:22-cv-03767-MWF-PD Document 1 Filed 06/02/22 Page 54 of 83 Page ID #:54



                                                      Account #:X22025




 D~~   5, 2018



 MELIKE DEWEY
 P.U. BOX 1005
 LOS ANGELES, CA 90078




 Dear M~LIKE DE~~IEY                ,

 T his letter is in response to your dispute for the account referenced
 above.

 It is Alltran Education, Inc. practice to follow all Federal,
 S tate, and Municipal laws when engaging in the collection of a debt.

 Attached are the requesr_ed documents to validate your acount. Please
 n ote that_ creditor records may nit indicate all current collection
 costs.

 I trust this response satisfies your concern.

 If I can be of additional assistance, please do not hesitate to contact
 me directly at 1-800-211-5312.

 Sincerely,

 Ombudsman, Corporate Compliance
 A1ltran Education, Inc.
 X 22025-67



    This communication is from a debt collector. This is an attempt to
 collect a debt and any information obtained will be used for the purpose.

     Office Hours: C9on-Thu 8:OOam to 9:OOpm, Fri S:OOam to S:OOpm
        Sat 8:OOam to 12:OOpm Central Time. Phone (300)211-0432
   See reverse side and/or addtional page (s) for more information about
                          email communications.




                                                                                 S3
                                                                                 27-NOV-2018 11:92:37 AM                       University of California, Davis
Case 2:22-cv-03767-MWF-PD Document 1 Filed 06/02/22 Page 55 of 83 Page ID #:55




                                                                                 PRGE 1
                                                                                 ALL TERMS                                     Student Trans Summary Report
                                                                                 T~RSSUM
                                                                                                                                       999859346 Dewey, Melike
                                                                                                                                          Balance: 2,509.00
                                                                                 EFF DATE      Description                                            CHARGE                       PAYMENT   TERM
                                                                                 26-SEP-1~     Federal Perkins Loan-Smr                                                          -2,509.00   201705
                                                                                 19-SEP-17     Summer Session 2 Univ. Grant                                                        -200.00   201705
                                                                                 1 9-SEP-17    Summer UC Grant                                                                    1,300.00   201705
                                                                                 1 9-SEP-1~    Summer Session 2 Univ. Grant                                                         200.00   201705
                                                                                 1 9-SEP-17    Summer UC Grant                                                                   -1,300.00   201705
                                                                                 28-.4r~G-17   Health Center Charge                                     5.00                                 201707
                                                                                 28-JUL-1'7    Refund Issued                                        1,918.OG                                 201705
                                                                                 28-JUL-17     Univ. Campus Fee Grant Summer                                                        150.00   201705
                                                                                 28-JUL-17     Summer Session 2 Univ. Grant                                                       1,100.00   201705
                                                                                 28-JUL-17     Summer UC Grant                                                                    1,300.00   201705
                                                                                 28-JUL-1'7    Federal Perkins Loan-Smr                                                           5,500.00   201705
                                                                                 28-JUN-17     IET Color Print Chg 1 pqs                                1 .00                                201703
                                                                                 28-JUN-17     Summer Session Unit Fee - UG                           273.00                                 201705
                                                                                 27-JUN-17     Univ. Campus Fee Grant Summer                                                       -150.00   201705
                                                                                 2i-JUN-17     Summer UC Grant                                                                   -1,300.00   201705
                                                                                 27-JUN-17     Federal Perkins Loan-Smr                                                          -5,500.OG   ~O1i05
                                                                                 26-JUN-17     Summer Session Unit Fee - UG                        -1,092.00                                 201705
                                                                                 21 -JUN-17    Refund Issued                                        2,908.16                                 201705
                                                                                 1 9-,7UN-17   Summer Session Campus Fees                             302.y2                                 201707
                                                                                 1 9-JUN-17    Summer Session Unit Fee - UG                         1,092.00                                 201707
                                                                                 18-JUN-17     Univ. Campus Fee Grant Summer                                                        150.00   ~G1705
                                                                                 18-JUN-17     Summer UC Grant                                                                    1,300.OG   201705
                                                                                 1 8-JUN-17    E'ederal Perkins Loan-Smr                                                          5,500.00   201705
                                                                                 09-JUN-17     Summer Session Unit Fee - UG                         1,092.00                                 201705
                                                                                 OS-JUN-17     Summer Session Campus Fees                             302.92                                 201705
                                                                                 08-JUN-17     Summer Session Unit Fee - UG                         1,092.00                                 201705
                                                                                 07-~7UN-17    Payment Received - Thank you                                                           3.52   201701
                                                                                 08-MAY -17    CHE 125 Course Material Fee                             80.00                                 201703
                                                                                 08-MAY-17     CHE 105 Course Material Fee                             80.00                                 201703
                                                                                 03-?APR-17    IET Print Chg 32 sheets                                  3.52                                 201701
                                                                                                              TOTAL:                               8,058.52                       5,599.52
                                                                                                                                  -------------------------      -------------------------
           Case 2:22-cv-03767-MWF-PD Document 1 Filed 06/02/22 Page 56 of 83 Page ID #:56

iJNIV~~i~1~'Y Or CALIFl7~NIA, DAVIS

                                                                   PROMI~SO~iY NO~'E
                                                               U NIVERS9TY STIJ~EN~ LOAD!
                                                                           5%

                                                                                                         "Social Security Number

I, Dewey, Melike                                                   ,hereinafter called the Borrower, promise to pay to The Regents of the University of California,
hereinafter called the Lending Institution, located at Davis, Yolo County, California, 95616, the sum of the amounts that are advanced to me and endorsed in the
Schedule of Advances set forth below, together with all attorney's fees and other costs and charges necessary for the collection of any amount not paid when
due.


1 further understand and agree that:
                                                                            REPAYMENT
I. (1) Interest shall accrue from the beginning of the repayment period and shall be at the ANNUAL PERCENTAGE RATE OF FIVE PERCENT(5%)
       on the unpaid balance except that no interest shall accrue during any period described in paragraph II (6)(A),(B) and (C).
   (2) I promise io repay the principal, and the interest which accrues on it, over a period beginning 6 months after the date I cease to be at least a
       half-time student at an institution of higher education, unless paragraph II (6) applies 10 years later.
         may, however, request that the repayment period start on an earlier date.
         prCm~se :o rePa y i~ e princi pal s^~'^
                                               „~ •psi over thc cou;e of thn re payrr;ent p~riod in equal mor:h;y, Simon:"ly, or q~a:~terly instal!m~n;s. as d~;ermin~d
       by the Lending Institution. However, if I request, and the Lending Institution approves, repayments may be made in graduated installments determined in
       accordance with schedules approved by the Lending Institution.
   (3) I( the repayment schedule established under paragraph I (2) provides for repayment of principal and interest at a rate of less than $90 per quarter, 1 shall
       repay the total amount of this loan plus the interest thereon ai the rate of $90 per quarter.

                                                                       PREPAYMENT
This note is also subject to the following conditions:
Ii.(1) I may at my option and without penalty prepay all or any part of the principal, plus the accrued interest thereon, at any time. Amounts I repay in the
       academic year in which the loan was made will be used to reduce the amount of the loan and will not be considered a prepayment. If I repay more than
       the amount due for any repayment period, the excess Wiiil be used to prepay the principal unless I designate ii as an advance payment of the next regular
       installment.

                                                                            DEFAULT
  (2) If I fail to meet a scheduled repayment of any installment, the entire unpaid indebtedness including interest due and accrued thereon, plus any applicable
      penalty charges, will, at the option of the Lending Institution, become immediately due and payable. The Lending Institution shall not be under any
      obligation to accept or process any requests for deferment filed after the debt has been declared due and payable under this provision.
  (3j I understand that if I am delinquent on my loan repayments, the Lending Institution will disclose Thai I have defaulted, along with other relevant
      information. to credit bureau organizations.
  (4) I understand that failure to pay this obligation under the terms agreed upon will prevent my obtaining copies of my student records including my diploma:
      grades, and academic and financial aid transcripts until i have made arrangements which are satisfactory to the Lending Institution regarding the
      repayment of the loan.
  (5) I understand that if I am delinquent on any portion of my loan repayment, pursuant to California law, the Lending Institution shall have the right to obtain
      all or any portion of any monies due me from the State of California as payment toward the amount of my loan that is delinquent.

                                                                           DEFERMENT
  (6) Interest will not accrue, and installments need not be paid:
      (A) While I am enrolled and in attendance as at least ahalf-time student at an institution of higher education or at a comparable institution outside the
           U nited Stales approved for this purpose by the Lending Institution; or
      (B) for a period not in excess of 3 years during which I am:
          (i) un full-time active duty as a member ci the Armed Forces of thz United States (Army. Navy, Air Force, Marie Corps. or Cuast Guard), or
          (ii) in service as a Volunteer under the Peace Corps Act, or
          (iii) a VISTA volunteer under Title I--Part A of the Domestic Volunteer Service Act, or
          (iv) a full-time volunteer in atax-exempt organization performing service comparable to the service performed by Peace Corps or ACTION agency
                volunteers, or
          (v) temporarily totally disabled as established by an affidavit of a qualified physician, or
          (vi) unable to secure employment because I am providing care required by my spouse who is so disabled, or
          (vii) an officer on full-time active duty in the Commissioned Corps of the U.S. Public Health Service; or
      (C) during any period when I am serving on active duty during a war or other military operation or national emergency, or performing qualifying National
          Guard duty during a war or other military operation or national emergency. Active duty does not include active duty For training or attendance at a
          service school or employment in a lull-time. permanent position in the National Guard unless I am reassigned from that position to another form of
          active duly service; or
      (D) for a period not in excess of two years during which time I am serving in an internship which is required in order that i may receive professional
          recognition required to begin my professional practice or service; or
      (E) The Lending Institution may. upon my application; defer or reduce any scheduled repayments if, in its opinion, extraordinary circumstances. such as
          prolonged illness or unemployment; prevent me from making such repayments. However, interest will continue to accrue.
  (7) i understand that I must file the necessary forms for deferment by the dates established by the Lending Institution in order to gain these benefits.


                                                                      --SEE REVERSE SIDE--


                                                           DEATH AND DISABILITY CANCELLATION

  (8) If I should die or become permanently and totally disabled: the entire amount of this loan plus the interest thereon shall be cancelled.
USLI'N7U%.rc~ 5'UI U ra




                                                                                                                                                                          ~~
           Case 2:22-cv-03767-MWF-PD Document 1 Filed 06/02/22 Page 57 of 83 Page ID #:57

 U~lI~I~~iSiTY flF ~ALIFOi~NIA, DAVIS

                                                                                         ~ROIVIISSORY NOTE
                                                                                    U ~IiVERSiTI~ STUDENT LOAN
                                                                                                  5%


                                                               CHANGE IN NAME, ADDRESS, AND SOCIAL SECURITY NUMBER

   (9) I am responsible for informing the relevant office at the Lending Institution of any change or changes in name. address, or Social Security number.

                                                                                                 PENALTY CHARGE

   (10) If I fail to make timely payment of all or any part of a scheduled installment, or if I am eligible for deferment under paragraphs II(6), (7), or (8) but fail to
        submit the appropriate request on time, I promise to pay the charge assessed against me by the Lending Institution.
        No charge may exceed (1) where the loan is repayable in monthly installments, $1 for the first month or part of a month by which the installment or
        evidence is late, and $2 for each month or part of a month thereafter; or (2) in the case of a loan which is repayable in bimonthly or quarterly installments.
        $3 and $6, respectively, for each installment interval or part thereof by which the installment or evidence is late.
        if the Lending Institution elects to add the assessed charge to the outstanding principal of the loan, it must so inform me before the due date of the next
        installment.

                                                                                       DISCLOSURE OF INFORMATION

(11)       I understand that the Lending Institution may disclose information on this loan to credit bureau organizations. The disclosure may include,
           but shall not be limited to, information about delinquency of repayments.


                                                                                                         W AIVER

 Every borrower of this note hereby waives atl rights and benefits conferred by any and all statutes of limitations now or hereafter applicable to the
 indebtedness evidenced by this note. I hereby certify (1) that I understand I am receiving a loan which must be repaid; (2) that my rights and
 obligations under this loan are contained in the above terms;(3) I have read this promissory note; and (4) I have received a copy of this note.


 Print Name: Dewey, Melike                                                                                                                                        Student I.D.#

 signature E-SIGNED BY Melike Dewey                                                                                                                                                  Date 1 ~ Dec 15 18:03:08 PST

 Permanent
 Address        P.O. BOX 73051                                                                                                                         DAVIS, CA 95617
                                                                           (Street or Box Number, City, State and ZtP Code)

 Local
                                                                          (Street or Box Number, Ciry, Siafe and ZIP Code)

 Caveat--This note is to be executed without security and without endorsement.



'PRIVACY NOTIFICATIONS
Maintenance of this info~mati~n is authorized by Unlversiiy Policy. The main purpose for requesting this information is 10 be able to coiled on the student loan if the borrower fails to make payment. Inbrmation
fum!shed on this form r~gy be used bq various l.~nive~si!y. S!at~, er Fcdera! deparmen!s. or des~na!_d Univorait9 agonts. for bit! collection ar.d rcated purposzs, ircludirg the Sta.s ct California Tax O!Esai program.
You have the right of access to records about you. The official respon^,ible for maintaining the iriformalion on this loan is the campus Loan Collection Manager.

In accordance with the Federal Privacy Act of 7971. you arc hereby noMied that disclosure of your Sxial Security number is mandatory. This reeordkecping system was established prior to January I, 1975.
pursuant to (1) the authority of The Fegenls of the University o~ California under article IX. Section 9 of the California Constitution and i2) the Financial Aid Information System Users ivtanual. University of California.
June 1974. The Social Security number is used to verily your identity.




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                  Case 2:22-cv-03767-MWF-PD Document 1 Filed 06/02/22 Page 58 of 83 Page ID #:58




    Dir. Confid
    ID:        94y8~9',45 -- Ue•,.~F;,, P•telike--- ---- ----                              Start vaith Fund:



    Fund Sur1~rl~ary

    Fund:        ~1              ~~ni ~rer~it,i Student Loan             ~~                               Type:                    ~~yard   L~,an
    Source: [~•a~.T              In~titutinrial ~.id                                                      Federal Fund ID:
i
                                                 Award Schedule                     Direx Loan irfarrnat~on          Non-Direr_t Loan Information


                                                                                                                                                            System
    Aid Year             Status                    Offered                    Accepted                 Authorized                 ~9emoed           Paid   Indicator
        1=1b             AC PT                          o a1.0~1                     a91.i)+7


    i
                                                                     1




                                  Totals:               991.r~i      ~               '?91.1 u

    Overrides for Fund

    U nrnet Need:       ti=~1~                   F und Lirnit:     .d=Pdr,     -                Tracking Requirernent:    id-6do      -     Year
    Replace EFC:        r;=Pi.                   Federal Lirnit    ri=Fig       -               Fund A4•~ard Rule:         ,-„_             No Pe




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                           Account Inquiry
                           Message:
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                            Account:                         Scieu opnon                    Find]
                                                  _._.       _
                            O U C DAVIS
                           M[LIKE DEWEY
                           P 0. BOX 1005
                           LOS ANGELES, CA 90078
                           323 915-1208
                           mdewey@ucdavls edu


                            Fund Type Loan Amt             Payoff     Balance Principal Interest Pen/Late/Oth tdgency Inhouse Mos Delq Cohort Year    Rate    Freq Payment Last Payment Check Amount    First Oisb   Sep Date
                            USLOlA                991.OD 1,066A3       991.00   991.00   45.43         30.00                        8      NO-       .05000     Q      90 D0                           01/08/2016 07/01/2017
                                  t ~r            191.00 I,OGb 43     991 uti   .9!-OU    ', ~l i       ,.                                                    yL flu



                           There are no transactions on fife for your account



                           Return to the (Menu].



                     NJ~e al~iU/ (~~I U1 U1. i / j
                                                                                                                                                                                                                                Case 2:22-cv-03767-MWF-PD Document 1 Filed 06/02/22 Page 59 of 83 Page ID #:59




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vv
  Case 2:22-cv-03767-MWF-PD Document 1 Filed 06/02/22 Page 60 of 83 Page ID #:60


DOCUMENT AUDIT TRAIL



PERSONIAL BATA
Dewey, Melike

~~~
P.O. BOX 73051



DAMS, CA 95617

(323) 915-6506




SCF100L
UC Davis

Financial Aid Office

Davis, CA 95616-8596




HISTORY
Database accessed: 7 7 Dec 15 17'59:43 PST

Submitted to Database: 17 Dec 15 18:03:07 PST

Data returned by authentication: 17 Dec 15 18:03:08 PST

Return Status: A




                                                                                   ~9
     Case 2:22-cv-03767-MWF-PD Document 1 Filed 06/02/22 Page 61 of 83 Page ID #:61

Loan No: 999859346                                                                                                      Financial Aid and Scholarships
Date: 10/912015                                                                                                                 Short-Term Loan L'nit
                                                                                                                                   One Shields Avenue
                                                                                                                          Davis, California 95616-8596

                                                   UC DAMS PROMISSORY NOTE
                                                  Alumni Emergency Loan —Fund 102206

Melike Dewey                                                     mdewey@ucdavis.edu                                                     999859346
Student's Name                                                   Emaif ,address                                                         Student I.D.

P.O. Box 73051                                                    Davis                                 CA             93617            (323)915-1658
Local Address                                                     City                                  State          Zip              Phone

P.O. Box 1005                                                     Los Angeles                           CA             90078            (323)915-1658
Pernaanent Address                                                City'                                 State          Zip              Phone



                            TOTAL AMOUNT DUE: $ ~ ,155                                            DATE DUE: ~ o~~ 2~20~ 5


      For value received,[ promise to pay to the order of The Regents of the University of California, at the Cashier's Office of the
l`niversiry of California. Davis, the rota) amount indicated above on or before the due date listed above.

      Failure to pay by the due date will constitute a breach of this cv~tract. In the event that I breach any provision of this note, I
 understand that the interest will accrue at the rate of 1°o per month.

       understand that 1 ma} be required to present a receipt from the Cashier's Office of the l niversit} of California, pay is as proof of
 payment of this note before future loans can be approved.

      This note (and any accrued interest thereon)shall become immediately due and payable in the event that !withdraw' or graduate
 from the t'niv~rsity of California, Davis, and that any portion that is past due may be referrzd to a collection agency.

       1 understand that failure to pay may also result in the imposition of administrative sanctions, including, but not limited to, bars on
 future registration and holds on the transcripts, records, financial aid, and diplomas until paid in full. to addition,[understand that
 delinquent payment of any portion of this note may result in penalties on or denial of future loans.

       In the event that it becomes necessary to enforce the payment of this note or any part thereof, b}' action of law or otherwise, 1 agree
 ro pay all costs of collection, including a reasonable fee for an attorney. Thz [.'ni~ersity of California reserves the rieht to charge the
 statutory limit on interest in the event of a judgment regarding payment of this note.

      1 waive presentment for payment, protest, notice of protest and notice ofnon-payment, and waive a!I rights and benzfits conferred
 by the statute of limitations in any action upon this note to the extent permitted by Section 360.5 of the California Code of Civil
 Procedure.

      1 understand that the lending institution may disclose tke amount of my indebtedness, repay moot history and other relevant
 information to credit bureau organizations.

 There is no penalty for prepayment of this note.




  Student's Signature                                                                              Date


  ~ For purposes of 6nanc~al aid. dismissal filing tee PELP, dropped from classrs. cancelled reg~strauoa and ceased to be enrol{ed are all considered to be wuhdra~m

 Publications\SharedloanDocs\PromNoteAlummEmerg




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                                                                                                                                                                       ~o
                                                                                                                                                                        1
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                            Exhibit 1




                                                                                 ~~
Case 2:22-cv-03767-MWF-PD Document 1 Filed 06/02/22 Page 63 of 83 Page ID #:63

I'... C-,:rtd   ~ Aid Summary
LOAN TYPE


                                                                                                                                    UNIVERSITY OFCALIFORN/A, DAVIS
Direct Unsubsidized                                                                                                                                               OPE ID
                                                                                                                                                            00131300




                                                                                     LOAN PERIOD O                         REAFFIRMATION DATE
                                                                                     03/30/2015 -                          N/A
                                                                                      06/04/2015

                                                                                     LOAN STATUS O'
                                                                                                                           PSLF CUMULATIVE MATCH MONTHS O'
                                                                                       Forbearance
                                                                                                                           N/A
                                                                                     ~,'iew loan status hist'pry
                                                                                                                           Learn more about loan
                                                                                                                           forgiveness
                                                                                     INTEREST RATE OO
                $1.169                                                               0.00% (fixed)
                Principal Q
                ~~2
                Interest Q

                     Loan Information as o/06/30/2021




          Repayment Details
         REPAYMENT PROGRESS




         $0 Paid Off(0%)                                                                                                         Amount Remaining $1,241



         NEXT PAYMENT DUE DATE ~             LAST PAYMENT MADE ON U     ENTERED REPAYMENT':             REPAYMENT PUN (~j           IDR ANNIVERSARY DATE ':'?
                                             N/A                        03~16I2018                      Standard Repayment          N/A
         10/28/2024                                                                                     Plan
         I.o•~ce_~~y_payment                                                                            ~n1Qre different
                                                                                                        repayment op ions




         Disbursements                                                                        Contact Your Servicer
            Disbursement Date O'                                  Amount O~                   DEPT OF ED/NELNET

           04/03/2015                                                 $998
                                                                                             L~ nelnet.com


         TOTAL AMOUNT DISBURSED               ~                 $998                         ~ nelnetcustomersulutions~Nnelnet.com

                                                                  Out of $998                ~JS ggg-486--4722

                                                                                             Q PO BOX 740283 ATLANTA, GA 303740283




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                                                                                                                                                                ilf
                                                                       <Prev o~~~ L~a~, Nex` L.~ai1)

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Case 2:22-cv-03767-MWF-PD Document 1 Filed 06/02/22 Page 64 of 83 Page ID #:64

C _, .: ~~, ~ :vJ •Aid Surt~~mary
LOAN TYPE


                                                                                                                                               UNIVERSITYOFCALIFORN/A, DAVIS
Direct Unsubsidized                                                                                                                                                  OPE ID
                                                                                                                                                                  00131300




                                                                                             LOAN PERIOD O                        REAFFIRMATION DATE l~
                                                                                         10/02/2014 -                             N/A
                                                 Loans                                       12(12/2014

                                                                                             LOAN STATUS OO
                                             $1,270                                                                               PSLF CUMULATIVE MATCH MONTHS C')
                                                                                              Forbearance
                                                                                                                                  N/A
                                             t,r~l 9alance Q
                                                                                         ~~ie~v loan status history
                                                                                                                                  Learn mare about loan
                                                                                                                                  forgiveness
                                                                                         INTEREST RATE Q

              $1,196                                                                     0.00/0 (fixed)
              Principal Q

              $74
              Interest Q

                       Loan Information as of06/30/2021




         Repayment Details
        REPAYMENT PROGRESS
                                                                                                                                                        Y-L   ~°F..
                                                                                                                 4k    ~           'x              d.
                                                                                                                   ~        ~ a          5         ~4
                                                                                                                                         U.~
                                                                                                                                               .


        $0 Paid Off(0%)                                                                                                                 Amount Remaining $1,270


        NEXT PAYMENT DUE DATE "i                LAST PAYMENT MADE ON ~J     ENTERED REPAYMENT ~'.;            REPAYMENT PLAN ~j                IDR ANNIVERSARY DATE'.?
                                                N/A                         03/1612018                        Standard Repayment               N/A
        10/28/2024                                                                                            Plan
        Lower my_~~ayuient                                                                                    ~~lore different
                                                                                                              repayment options




        Disbursements                                                                                Contact Your Servicer
          Disbursement Date O                                         Amount O                       DEPT OF ED/NELNET

          12/26/2014                                                         $0
                                                                                                    ~ nelnet.com

          10/07/2014                                                      $1.001                    Q ~elnetcustomersolutions(unelnet.com


        TOTAL AMOUNT DISBURSED                                    ~ Z ~ OO Z                        ~ X88"`186-4722
                                                O'
                                                                     Out of $1,001                  Q PO BOX 740283 ATLANTA,GA 303740283




                                                                                                                                                                         Y
                                                                            CPrevious Loan     Next LoarJ

                                                                                                                                                                               1/1


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Case 2:22-cv-03767-MWF-PD Document 1 Filed 06/02/22 Page 65 of 83 Page ID #:65
            Aid S.~i. ni~ry
LOAN TYPE


                                                                                                                                   UNIVERSITY OF CALIFORNIA, DAVIS
Direct Subsidized                                                                                                                                          OPE ID
                                                                                                                                                        00131300




                                                                                   LOAN PERIOD OO                         REAFFIRMATION DATE
                                                                                   06/222015 -                            N/A
                                          Loans                                    09111/2015

                                                                                   LOAN STATUS Q
                                     $1,996                                                                               PSLF CUMULATIVE MATCH MONTHS C')
                                                                                     Forbearance
                                                                                                                          N/A
                                      Total Balance Q
                                                                                   ~'ie~v loan status history.
                                                                                                                          Learn more aliou[ loan
                                                                                                                          Yorgiveness
                                                                                   INTEREST RATE O'

            1,887                                                                  0.00% (Fixed)
       Principal Q

       $109
       Interest p

                Laan Information as of06/30/2021




    Repayment Details
    REPAYMENT PROGRESS ~~
                                                                                                                    ~~u
                                                                                                                 ~."~5~                ~       ,:~:

    $0 Paid 0$(0%)                                                                                                              Amount Remaining $1,996


    NEXT PAYMENT DUE DATE ~`i           LAST PAYMENT MADE ON ~~''     ENTERED REPAYMENT ~?1           REPAYMENT PLAN Q             IDR ANNIVERSARY DATE [?)
                                        N'A                           03/16/2018                      Standard Repayment           N/A
    10/28/2024                                                                                        Plan
    Lower my_payment                                                                                  Explore different
                                                                                                      repayment op ions




    Disbursements                                                                          Contact Your Servicer
     Disbursement Date O                                        Amount O                   DEPT OF ED/NELNET

     06/14/2015                                                     $1.833
                                                                                          ~ nelnet.com


    TOTAL AMOUNT DISBURSED               n                 ~ ~,     833                   ~ nelnetcustomersolutionsCNnelnet.com

                                                               Out of $1,833               ~S ggg_~}gs_4~22

                                                                                          Q PO BOX 740283 ATLANTA,GA 303740283



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            a,~i s~~~, ~ ~,
LOAN TYPE


                                                                                                                                        UN/VERSITYOFCALIFORN/A, DAVIS
Direct Subsidized                                                                                                                                             OPE ID
                                                                                                                                                           00131300




                                                                                       LOAN PERIOD OO                          REAFFIRMATION DATE ~J
                                                                                       10/02/2014-                             N/A
                                             Loans                                     12/12/Z014

                                                                                       LOAN STATUS O
                                            1,996                                                                              PSLF CUMULATIVE MATCH MONTHS C?)
                                                                                         Forbearance                           NSA
                                        !o'd; 7al.~e.~ Q
                                                                                       View loan statu history:
                                                                                                                               Learn more about loan
                                                                                                                               forgiveness
                                                                                       INTEREST RATE
        ~jl,$$]                                                                        0.00% (fixed)

        Principal Q

        $109
        Interest Q


                  Loan In%ormation ns ofOG/30/2D~ t




    Repayment Details
    REPAYMENT PROGRESS

                                                                                                                           ~              ~~

    $0 Paid Off(0%)                                                                                                                  Amount Remaining $1,996


    NEXT PAYMENT DUE DATE ~i               LAST PAYMENT MADE ON ~_')      ENTERED REPAYMENT C1          REPAYMENT PLAN O                IDR ANN~4ERSARY DATE '.
                                           NSA                            ~3/tG/2018                    Standard Repayment              N/A
    10/28/2024                                                                                          Plan
    I,~~~~er ni,~~_f>;~yuieiit                                                                          ~nlore different
                                                                                                        _i epayment op ions




    Disbursements                                                                              Contact Your Servicer
     Disbursement Date O'                                          Amount Cl                   DEPT OF ED/NELNET

     12/26/2014                                                           $0
                                                                                              l~ nelnet.com

     10/07/2014                                                        $18~~                  ~ nelnetcustomersoliiUons~~neLnet.com


   TOTAL AMOUNT DISBURSED                   OO               . 1,833                          ~ 88g-`~g6-X472"L

                                                                  Out of $1.833               Q PO BOX 740283 ATLANTA, GA 303740283




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        • Aid Summary
LOAN TYPE


                                                                                                                                      UNIVERSITYOFCALIFORN/A, DAVIS
Direct Subsidized                                                                                                                                           OPE ID
                                                                                                                                                         00131300




                                                                                      LOAN PERIOD O'                        REAFFIRMATION DATE ~'~
                                                                                     03/30/2015 -                           N/A
                                                                                      06/0~/2015

                                                                                      LOAN STATUS O'
                                                                                                                            PSLF CUMULATIVE MATCH MONTHS C'U
                                                                                           Forbearance
                                                                                                                            N/A
                                                                                      View loan status history:
                                                                                                                             Learn more about loan
                                                                                                                            forgiveness
                                                                                      INTEREST RATE OO
       $1,888                                                                        0.00% (fixed)
       Principal Q

       $109
       Interest Q


             Lauri fn(ormation as o/'06/30/202]




    Repayment Details
    REPAYMENT PROGRESS ?-
                                                          • t"'                     ..S'                      4                      r




    $0 Paid Off(0%)                                                                                                               Amount Remaining $1,997


    NEXT PAYMENT DUE DATE '?:!         LAST PAYMENT MADE ON ~J         ENTERED REPAYMENT ~;              REPAYMENT PLAN U             IDR ANNIVERSARY DATE t'~
                                       N~"                             os~isrzoia                        Standard Repayment           N/A
    10/28/2024                                                                                           Plan
    LoKer my_payment                                                                                     F.~pls~re different
                                                                                                         repayment options




    Disbursements                                                                              Contact Your Servicer
     Disbursement Date O                                          Amount O                     DEPT OF ED/NELNET

     04/03/2015                                                     $1.834
                                                                                               ~ nelnet.com


                                      (~                ~~,~~`t                                B nelnetcustomersolutlonsC~nelnet.com
    TorALAMouNTOISBURSEo
                                                             Out of $1,834                     ~,SJ ggg-486--~72~

                                                                                               Q PO BOX 740283 ATLANTA, GA 303740283




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            aid s~~~, ~~,~,~~
LOAN TYPE


                                                                                                                                UN/V£RSITYOFCALIFORN/A, DAVIS
Direct Unsubsidized                                                                                                                                   OPE ID
                                                                                                                                                   00131300




                                                                                  LOAN PERIOD                          REAFFIRMATION DATE(~
                                                                                  09/24/201 S -                        N/A
                                           Loans                                   06~02~2016

                                                                                  LOAN STATUS OO
                                      $3,566                                                                           PSLF CUMULATIVE MATCH MONTHS(?~
                                                                                    Forbearance
                                                                                                                       NSA
                                       royal Baian~ e Q
                                                                                  \'ie~v loan status history
                                                                                                                       Learn more about loan
                                                                                                                       forgiveness
                                                                                  INTEREST RATE
       $3,374                                                                     0.00% (fixed)
       Principal Q
       $192
       Interest Q

                 Loan Information as of06/30/2021




    Repayment Details
    REPAYMENT PROGRESS
                                                                                                                        "'    ~.        7       ry~ ~ ~ ~j~` rail
                                                                                                                                              fi;

    $0 Paid Oif(0%)                                                                                                          Amount Remaining $3,566



    NEXT PAYMENT DUE DATE .'J            LAST PAYMENT MADE ON U      ENTERED REPAYMENT U           REPAYMENT PLAN OO            IDR ANNIVERSARY DATE n
                                         NSA                         o3i16~2°18                    Standard Repayment           N/A
    10/28/2024                                                                                     Plan
    1 oc~~er [ny_payment                                                                           Esnlore different
                                                                                                   i_
                                                                                                    epayment op ion -




    Disbursements                                                                        Contact Your Servicer
     Disbursement Date O                                      Amount O                   DEPT OF ED/NELNET

     03/18/2016                                                   $1.000
                                                                                         L nelnet.com

     12/25/2015                                                   $1000                  0 nelnetcustomersolutions~Nnelnet.com

     10/12/2015                                                   $1.000
                                                                                         ~J 8R3-486--F722

                                                          ~3~ooO                         Q PO BOX 740283 ATLANTA, GA 303740283
    TOTAL AMOUNT DISBURSED               ~
                                                             Out of $3.000




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        • a~~is~~~, ~,~~:~v
LOAN TYPE


                                                                                                                                     UNIVERSITY OF CAUFORN/A, DAVIS
Direct Subsidized                                                                                                                                              OPE ID
                                                                                                                                                            00131300




                                                                                  LOAN PERIOD OO                            REAFFIRMATION DATE U
                                                                                  09/24/205 -                               N/A
                                          Loans                                    06/02/2016

                                                                                  LOAN STATUS OO
                                         5 ,951                                                                             PSLF CUMULATIVE MATCH MONTHS C'~
                                                                                    Forbearance
                                                                                                                            N/A
                                      Tonal 9al~nce Q
                                                                                  Cie~v lupin st2tus hi,tory
                                                                                                                            Learn more about loan
                                                                                                                            forgiveness
                                                                                  INTEREST RATE ~~'J

       $5,650                                                                     0.00% (fixed)
       Principal Q

       $301
       Interest Q


                Loan !n(ormntion as of06/30/2021




    Repayment Details
    REPAYMENT PROGRESS
                                                                                                                                                                    ~,
                                                                                                                                                   s            ~
                                                                                                                                                       t"
    $0 Paid 0$(0%)                                                                                                                Amount Remaining $5,951


    NEXT PAYMENT DUE DATE U             LAST PAYMENT MADE ON (J      ENTERED REPAYMENT Li              REPAYMENT PLAN OO             IDR ANNIVERSARY DATE ~?~
                                        NiA                          os~is~aols                        Standard Repayment            N/A
    10/28/2024                                                                                         Plan
    l.o~cer m~-payment                                                                                 ~F plore different
                                                                                                       repayment options




    Disbursements                                                                         Contact Your Servicer
     Disbursement Date Q                                      Amount Q                    DEPT OFED/NELNET

     03/18/2016                                                   $1.834
                                                                                          L nelnet.com

     12/25/2015                                                   $1.833
                                                                                          B nelnetcustomersolutions~~unelnet.com

     10/11/2015                                                    $166
                                                                                          ~ 888-486-~k722

     09/14/2015                                                   $1.667                 [Q PO BOX 740283 ATLANTA, GA 303740283


    TOTAL AMOUNT DISBURSED               O               $5,500
                                                             Out of $5 500
                                                                                                                                                            ~r~


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Case 2:22-cv-03767-MWF-PD Document 1 Filed 06/02/22 Page 71 of 83 Page ID #:71
                                                                                       i
                                CPrev~nus Loan   Next Loan




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                                                                         V


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       . ~iJ Sm-~~ra~y'

LOAN TYPE


                                                                                                                             UN/VERSITYOFCALIFORN/A, DAV/S
Federal Perkins                                                                                                                                            OPE ID
                                                                                                                                                     00131300




                                                                               LOAN PERIOD ~?,                         REAFFIRMATION DATE O'
                                                                               N/A                                     N/A
                                       Loans
                                                                               LOAN STATUS

                                          O                                      Cancelled                             PSLF CUMULATNE MATCH
                                                                               V1E41~- ~Oc'lII Si~[l15 111   O]"'`v.   MONTHS ~?~
                                Total 6al.aue Q
                                                                                                                       N/A
                                                                               INTEREST RATE O'
                                                                                                                       l,carn more about loan
                                                                               N/A N/!1                                forgiveness
       $~
       Principal

       ~~
       Interest Q


             l.omi Di(ormat~on as o~




    Repayment Details
    NEXT PAYMENT DUE DATE              LAST PAYMENT MADE ON    ENTERED REPAYMENT ('~               REPAYMENT PLAN               IDR ANNIVERSARY DATE ~J'
                                   C~)                          N/A                                N/A                          N/A
    c~N/A                              N/A                                                         Explore different
      w r lY-P-~Yment                                                                              ~g~ym n op ion




    Contact Your Servicer
    U NIVERSITY OF CALIFORNIA, DAVIS


    Q ONE SHIELDS AVENUE DAMS, CA 956168558




                                                              <Previous Loan      Next Loan)




                                                                                                                                                      V


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Case 2:22-cv-03767-MWF-PD Document 1 Filed 06/02/22 Page 73 of 83 Page ID #:73




                             Exhibit 2




                                                                                 ~~
Case 2:22-cv-03767-MWF-PD Document 1 Filed 06/02/22 Page 74 of 83 Page ID #:74


  FEDERAL PERKINS LOAN MASTER PRO~IISSORI' NUTE
  O~II3 Nn l3-05-OU7~1 Fenn;\nnrnvad Fsnimiinn Dare (N)/3N)015

         1        i t    1              1
  L iVame (last, tirst, middle initial) and                                              ~. Social Security Numhei~~
    Penn~inent Address (street, city, state, zip c<~de)
Dewey, Melike                                                                          ~. oa~e of Birth (mn~/dcUyyyy)
                                                                                       :
P.O. BOX 1005                                                                          4. Home Pu~ea Code/Telephone Number(323 973-8384
                                                                                         5. Driver's License Number (List state abbreviation first)
LOS ANGELES, CA 90078                                                                      N/A N/A
                        ~~
 6. School Name &Address(street, city, state, zip code)                                  7. Annual Interest Rate
 UC Davis
                                                                                           s~
 Financial Aid Office
 Davis, CA 95616-8596
  Any hrxketed clause or p uagraph may he included ut option of iustitution~
 Terms acrd Conditions:(Note: Additional Terms and Conditions follow on subsequent pages)
 r\PPI.IG~I3LG LAW -'[hc icons u€this federal Perkins Luau ~185[L'f PCOIIIISSOCV NOf•~ (hereinafter calleA the NuteJ and any disbursements math: under this Nae Mall Ix
 intemre:ted in accurdance with Pact ~ of"fide [V of the Higher Education Act of 1965, ~iti amended (hereinafter c:dfed the Art), as well as Federal regulations issued under the
 Act. All suuu advanced under this dote :ur subject to the Act and Federal regidntinns issued under the Act.
  RI?PrlYlif?N'1'- I am oLiliguted to repay dle principal and the intereu dial accnies on my Iounls) to the above-named institution fhereinaRer called the Scha~U over a period
 beginning 9 nwndis for sooner iC I am a lass-Thau-Flalf'=Time l3orrower) uRer the date[ceaee to he at (east a half-time swdent at :u~ institution of higher education ar u
 coiup:u~al~le Seh~wl outside the United States xppmv~~cl by the United States lh:pamneut of Education Iherein.dter c:dled Otte Department)and ending 10 years later, unless 1
 rc~c~uest in writing shat nry mpxymrnt ~ii~x1 Ix gin sooner. l undentaud that the Schiwl wil I report the am~xmt of ntv installn~eut paywents, along with the amiwnt o(~his loan
 io at least one nation~d credit bureau. Interest on this luun shall accme(mm the Ixginniug of the repaytuent ~xriocl. My repaymem penal usiy Lx shorter than l0 years if[ atu
 rc~uiced by my Schiml ro niakc minimum monthly payments. My repavnsnt Fxrioci m.ry he es[cnded during Aerials of def'crment, hardship, or fodiearance unA I may make
 s~Raduated installments in accordance with .i uhedule approved by the Depxrtrnent. [will male my installment puyrnents in equal mouttdy,l~imomhly, or quarterly
 instalinn;nls as deterruined by the School. 'ff~e Sch~wl may rowtd my instulhnent payment to the next highest multiple of $5.[f will make a minimum monthly repayrtient of
 tiaU (or'S30 iF l have uutstandiug federal Perkins Iwiuns maAe helixe October I, I~XY_' drat included [he 9.30 minimum payment option or outstmiAing National Direct Swdent
Lu.uis~ in accordance with ttie Miuiiuum Mu~uhly P.ihnent Section of the'fer~ux:wd Conditions conrrinecl nu the reverse side of this dcx-un~ent.~
 I,ATIi CHARGES - "Ihe Scluwl may imFxne late ch:u~,es iC[da not make a xheduled paytuent when due ur iF [tail [o whtuit to die Schad on or heti~re[he due flute of the
payment, a protxrly dcxumented rawest tix mry of Die forbearance, defenucnt, or cancellation henetits :tiff described below. No I:ue clvlrgex may exceed 20 peRent of my
 nnmthly, bimonthly, or quarterly payment 'Ihe Sdux~l may add die late cicirees to principal the day after the scheduled ~wynien[ was due or include i~ with the next
scheduled payment ~Cter I have reccivc~cl notice of the charge, and such irotice is scut heli~re the next installment is due.
I~ORBIirULANCI?. DI;I~IiRMCN'1'. OR G~NCI~.I.Le\TIUN - I may apply tix a forbearance, defenuent, ur cancellation on my loan. Dating au upptt>ved Forhe.vunce
~xriod, payments uF principal and interest. or principal only, rosy he ~wsrywued or reduced. futerest continues to ncerue while my Awn is iu Fofiear.mce. lluriug an approved
def'ennent period, I am nut aY~uired to make uheclidecl instalinwn[ payments ~n my fuss. l xm nut Gable fur any interest that might otherwise aicerue while my loan is in
deferment. IC(meet the eligibility requiren~enh tix a cancellation of my loan. the institution may cancel up m I(X) percent of the outstanAing principal loom amount.
 LiForniation ou eli~ihility and application requimmen[s fur forhecunnces, defei7nents, and c:mcellations is provided on pages 2 through d oC this Note. [ am responsible liir
uihmittiug the appropriate requests on time, and[ ncry lose my heneti[s if [Fail[u file my inquest on time.
DI~.FAULT -"Che School may, at its option, declare my loam to he in default if (I)[ Faif to m:il:e a scheduled payment when due: ('_)[fail to submit ro the School, on or
beti~re the due date of a scheduled payment, documentuticm tlwt I qualify ti~r.i furbearence, deferment, or cancellation; or(3)[ f•.ii! to comply wide the terms and conditions of
this Mute or written repayment ngrE~cment. 'R~e School may atisign a defaulted fuss w the DepurtuKut Fur collection. [ will lx; ineligible for Duty furU~er Federal stucleut
financial assistance authoriuJ under the Act until I make azrangements that sue satisFacrory to ttie School or the Department ro n:pay my loan. 'lhe School or[he Deptuvnent
shall disclose[u tredi[ 6urcau oi~ani~atious dial[ h.ive defaulted and all other relevwt lixm information. (will Icne my right ro defer payments wed my right to Fod~enranre if
[default tin my loin. The School ur the Depeutmeut may accelerate my defaulted loan. Acceleration means that the School or the Deportment demands immediate payment
of the entiiL unpaid balance of[tte fuss, including principal, interest, late charges, and colle~ lion casts, f will lose my right ro receive cancellation benefits For service that is
perFunncd uRer the date the School or the llep.u~tmeiu accelerated the loan.
 CH,1NG[: O~ STATUS - [will inform the Sch~x~l oC any change in my mm~e, uddiEss, telephone mmiher, Six:ixl Security Number, or driver's license number.
:\U7'HURI7.e1"fI0\: -[<uuhurite d~c Schu7l, lilt: Ul'~WtI1lBlll, illt(I lllc'If CE`Sp~UIIVL` Bf;HIL5 UII(I l'OII[PaICLUCS N LUII[8il IIIC CN~ardiu~ my loan nti~ucst ur my lo:u~(s), including
 cepxymeut of my loan(s), at the current or mty Cuture number that [provide fur my cetl~ular phuue or other wireless device using xuromated telephone dialing equipment or
 artificial or pre-recorded voice or test itiessages.
PROMISE TO PAY:[ promise ro pay die Scharf, or a suhsEYluen[ holder of the Note, all sums disbursed under the tanns of this Note, plus interest and other fees which
nr.~y lxrume due as provided in this Nuce.[understimd that multiple lo:~nc m.iy be made to nee under this Note. I understand [ha[ by accepting any disbursements istiued
at any time wtder dais Note,[ a~n~ee ro repay the lu;uis.[underst:md that each bzm is separately enForceahle based on a true and exact copy ot~ this Note. [ widerstand that I
may cancel or reduce the amount of any fuss Vy na accepting or Vy returning all or a portion of any disbursement that is issued. [F l do not make any payment on any loan
under this Nute when it is due, 1 promise to pay all reaconahle collection costs, including u¢omey Fees, enact costs, and other Fees. [will not sign this Note before reading the
entire Nae,even if[am told that I am not required N read it. I am entitled ro an east copy of this Note. 7liis loin hat been made ro me without security or endorsement.
Nly signuave certifies I have read, understand, and acme ro the terms and conditions of this Ncxe.

I UNDI:ILS'CAND 7'HA'f[~IAY R[:CfIVF. ONIs OR btORF. LOANS UNDb:R THIS ~G~STIsR PROMISSORY NO'fT AND THAT[MUST REPAY SUCH
LOANS.
E-SIGNED BY Melike Dewey                                                                              18 Jun 15 10:46:26 PDT
$OtTO~vC['S Sigik1htre                                                                                Date




                                                                                         Page l oF4




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   Terms and Conditions (cunt.)
   DISCLUSURIi OI'IAA\7'I:R~IS - I unde~staud that under this Note, dir                           he considered ~ prepayment. If, in ui academic ye v other than the
   principal amamt dmt[owe, and am rc~e~uired ro repay, will he the sum of all                    ar.~demic ye.v in which the love was made, f repay more than the am~mt
   dislwnements itisued unless I reduce orcancel anv dishursemeun. The                            due Cor an insc111rt~ene, the excess Funds will Ix used ro repay principal
   Sch~wl will deremiine whether to make anv loan under this Nnte alter my                        unless I designate it as an advance ~yrnent of the next regular installment.
   lomi eligibility is d~acrniinecL Ac or IxrForc die time of tint dislxirsernenc for
   each lam, a divlouim suucment will Ixx pmvided to irie identil'yin~ tl~e                       ~IIN~~IU~I ~IU~1'HLY PAl'J1F.1Yf - If reyuired by the School,[will
   amount of tt~e loan vid auv addiuou:d [eons oC the I.km. [may decline a loan                    mike a minimum muuthly pa}nneut in the awount of S-IO for $30 it I have
   or request a lower am~mt by cuuta~riug die Schcx~l. Any diulosure                              outstanding Federal Perkins(mans made hc~fore OcroUer 1, 1902[hat
   stateme~~t [receive iu munectiai with aity Juan m~der dais Note is hereby                      included the X30 iniuinwm payment optirnt or outstanding National Dirext
   incomerated into dais No[e.                                                                    Student I.omts) or its bimond~ly or quarterly equivaleuc [C the total monthly
                                                                                                  payment umamt oii Biis loan and any anuandine Federal Perkins l.oxns[
   LOAN RP.H:~BII.IT:1T[ON - If I default on my Peder~l Perkins Loan,                             may llnve is less than the minimum monthly payment amiwnt established by
   and that loan hie not been reduced to ajudgment as a residt of litigation                      the Schad, the School may still require a minimum monthly payment
   against me,[may rehabilitate my defaulted loan by requeuing the                                anww~t. A minimum monthly payment amount will comhinc my obligation
   icl~a6ilitation and by making a voluntary, on-time, monthly payment, as                        on [his and all my outstanding Federal Perkins Loans, wiles I have received
   determined by the School, each month fix nine consecutive months. IF I                         loans with diFFerent grace periods and deferments. At my request xnd iF l
   successfully rehahilitate nry defmlted ~ecteral Perkins Loan, I will again be                  am eligible, the xha~l nay combine this tiuuinwru mouttily payment
   subject ro die[eons and conditions and quality (ur any mmvning benefits                        atnantt with all ury outstanding federal Perkins lams including [hose
   and piivileecs of this Nute and d~z deCauh will be removed lirorn my credit                    rnadc at other sch~wls. Under tticse circumstances the portions of the
   l~iuorv. I understand that I nmv rehabilitate a defaidted ~eclerfd                             mininnuu monthly payment tLat will be applied ro this lo:m will Ix~[he
   Perkins Loon only once. Alter my loan is rehabilitated, collection cots on                     dilTemnce henv~~en the minimum moodily payment amount and the total
   the liven may na exceed'_'=t percent of[he unpaid princip:~l and acenied                       aunouuts owed on a monthly basis on my other federal Perkins loans. If
   interest as of die dote li~llowing the upp6cation of the nind~ consecutive                     ea~li xl~ool holding my outs[and'uig federil I'erkius ta7ans exercises the
   p:tymem. ff' I del:tu~t nu my rehabilitated li~:m, the c:ip on collection cos[ is              minimum monthly p?vment am~xmt option, the minimum monthly payment
   removed.                                                                                       amount will be divided anx~ng the Schcx~ls in proportion [o die lo:ui artx~unt
                                                                                                  advanced by each scha~l iF I n~uest this veu[ti~ent from each Schcx~l.
   ASSIG\kIG.N'f - A loan made under this Note may he assigned by[he
   School only to die United States, as represented by die United Swtes                      'I ORBIiAR:~NCI? - UFwu ntiiking a property dcxumented written or oral
   fkpartnient of Hducation. Upon assignment, die provisions of this Note                     request to tl~e Schcx~l, I ant entitled ro Fodxarauce oFpiincipal mid iirtemst
   that relate ro the School will, tvherc appn~piiate, Klate to the Dep~u'tment.              or principal Duly, renewable ut intervals of up to !?mouths tix ~xriods that
                                                                                              collectively do nix exceed d~ree years, under die following couditians: IF
   HARDSHIP RI?PAY~tIi\1' OI'TIO\S -Upon my written request, the                              my monthly Tide IV lom~ debt burden equals or exceeds 20 percent of roy
   Schad nary extend my repayment period (1 ~ for up to an .idditiunal ]0                     total monthly gross income; il'the Ikpxrtment authorises a period of
   yc:us iF !qualify as slave-income individual during die repayme~i[ pericxl:                foci~etu-~uce due to a national military mohili7utiun or aher natinnal
   or 12)for[he period neceskiry heyund ury 10 year repav~ueut period iF, in                  emergency; or il'the Schcx~l determines that[ quslil'y due to poor health or
   ilte School's opiiuoi~, prolonged iWuss or uncmplo~ meal prey em me Gom                   ! or other reasu~u, including service iu AmeriCorps. hiterest ~ccrucs during
   tnakoig thr sch~dul~d repayments. Interest ~~ifl routinuc to <ianie during                .uty period of forlxarmcc.
   any eetension of a mpavntcut }~:ri~x1.
                                                                                               Dl:~l?R~tI?1TS -'I'ci apply (or a deCernicnt, I cons[ request the deferment
  If I am requiR~cl by die Sch~~l to male a minimum niuuddy p.+vment on my                    fmm the sclux~l. 11y request dixs not hive to be in writing, but the Sch~~l
  loan. the School rosy also permit the to pay less than Uie minimwn monthly                   may requim [list l submit supporting daument:~tion ro prove my eligibility
  puyme«t awuwit Cor a period of not mom than one year at n time if I                         Fur a deferment. I may defer making scheduled installment puymenh and
  experience a pen~xi of prolonged illness or unemployment. l lowevrr, such                    will not he liable lor.my interest that might othenai,e accrue ~ 1)durinK any
  action may not extend die rcpaymcnt FxrioA heyuud I U ye ws.                                 period that I am enrolled and carenAin, us a regular ~laden[ in at le~~st a halt=
                                                                                              time course of'study at am eligible Schad (if [tie School obtains student
  GRACF.~r~t~ons - u~,iet, i ~„~ :~ i_L~,-1~,:~~~-f call=l'imc Bun~ower, I will               enrollment infimnatiou showing thtit [quality for this del'ern~nt, the Schcrol
  receive an initial nine-mon~i Lrace pericxi lxfore the tint paynxnt of my                    may grant die delennent without uiy request pmvidin, the Schcx~l notifies
  Federal Perkins l.nan tonal he made. Af[cr the close oFan authorised                         me and gives me Uie option to cancel the deferrneny; 12) during any perind
  deFemient period, [will receive apart-de(crment grace period of(i months                    that I am enrolled and attending as a regular s[udenl in a ~nadus[e fellowtihip
  belurc my payments resume. tuterest does not accni~ during the initi:d                      prograiii approved by the llep.uvi~cut; engagcYl in graduate orpost-graduate
  grace ~riod or during chc ~xn[-del'enncnt trace Exricxl. 'll~e nine-month                   Fellowship-sup~rted study outside Uie US; enrolled and anendiue a
  initial grace period For Federal Perkins lw~ans da:s not include any period                 rehabilitation training prognru For disabled individuals approved Vy the
  up ro dtcec yeah during which I am called or ordered[o active duty for                      llep:utrnenr, or engaged in public srrvire shat qualifies me to have part or
  nwm th:ut ;0 days from x reserve component of[he Anncd Forces n(the                         all o(nry I«n cuncelcd:(3)fur a Exriud not ro exceed three ye:us during
  United States, including [he pencil ncxrssary forme[n resume enrolltuent                    which l am seeking but unable to tract full-time empinyroenr,(~1) for u
  at ~i~e nc+e[ available civollmeut penal I overt notify the scha~l [list made               period na w exceed thrc~ y~cvs. For up to one year at a tine, during which I
  my loan oFdie 6eginnin,slid ending dates of my service, and tl~e date t                     am experiencing an economic hartiship as de[ennined Uy the Scha~L [may
  reswne enrollment. IF[am in my initial grace ~riod when called or                           qutdify For an economic hardship deferment for my f•'eder~l Perkins I.o ui if
  ordered to active duty,[am entitled ro a new ninesnn~ndi initial grace ~ri~xi               [ provide my schnol with dcx ucnentatiun showing That I have been granted
  upon compietiai of the excluded period.                                                     such a deFemie~it under the Wil(ieun U. Ford Pedertd Dutrt Loan or federal
                                                                                              Family [education lean program For the period of time for which[vu
  IC I am a Less'Iltan-f lalC-'Time Borcower with outstanding Federal Perkins                 requesting .ut economic hlydship deferment f'or niy Federal Perkins la~au. fl~
  tA~ans, my repayment }xriocl begins when the next xheduled installment i~F                  [ am serving as a volunteer in the Peace Corps, l am eligible for an
  my ouu[:mding loan iv due. [f I am a Ixsti'11imrHxlFTime I3onower with                      ecimomic l»rdship deferment for my full lean of service. An economic
  uo other outstmiding federal Perkins I.o:ms, my repayment begins the                        he~rdship deferment h ie d nn service as a Peace Cotes volunteer may not
  cadres oF: 9 months from the Ante my loan was made, ur 9 months from ~t~e                   eeceed the lesser of tliree years ur my re~rmining perind of economic
  date[bctiart~e a less-than-half-time student, even iF I received the lo:u~ after            hardship eligibility:(S),during any period when[am serving ~n active
  [ bE~came a less-tlum-half-time student.                                                    duty during u war or other military operation or national emergency, or
                                                                                              performing yualitving Vatioual Ciuxrd duty during a waror other military
  PREPAYMENT - I may prepay all or any part of my unpaid lo:m balance,                        opera[ion or national emergency (as these terms are defined in 34 CFR
  plus any uccrucd iutcretit, ut any link witttuut ~nalry. Amuuuts f repay in                 G74.34f6)of[he Perkins L.oxn Program regulations) and, if trey active
  the academic year in which the loan was made and before the initial g-ace                   duty service includes Oc~olxr 1, 2lN)7 or begins un or after that date, for
  periat has ended will be used ro reduce [he anmwtt of the loan and will not                 an additional I h0-day period following the demotiilizstion date for my
  be cunsidead a pmplymeut. IF 1 repay awounts during the academic year                       service: and (6) iF 1 am serving ou active duty military service ou October
  in which the loan was made and the initial grace period has ended, only                      1,?007, or begin serving on or after that date, fur at least a 30-day period,
  thox anwunts iu excess oFthe amount due for any repayment penal shall                       for up ro l3 months following the couclusiou of my active duty military
                                                                                     Paac 2 of4




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    Terms and Conditions(cunt.)
   service and initial grace pericxl or inuil [return to euroU~d student st:~[us,                Srcoudury C~iluruiou Act oC 19G5, ur who is employed in a public lihrary
   ~vhichevcr is earlier, iF 1 am a member of the National Guard or other                        dint xrves a g~Y~graphit area that contains one or more such scti~ls.
   reserve comExment of die Armed forces oC[he United States or a mcmher
   of such Forces in retired status lus these terms are defined in :~{ CFR                       J.Speech-I.angaage P.ithnl~~};ist•a Full-time sp~tiYh-language pathologist
   67-134(iN'_11 mid[ wus enrolled in a program of instniction at the time                       ~clio lugs a master's degree a~ul who is ~coil:ing e~clusi~ely Keith schools tlmt
   wax callzd to active duty, or within six mo~uhs pririr to the time I was                      arc eligible for assivance under tide[of the [:lemeitt:vy .nid ScYoud.~uy
   called w active dun. Active Auty dues nut iucWde active Auty fur                              Cducation Act of 19E5.
   vainiug or attendance at a service school or employment iu n Full-time,
   penn:meut p~nitiuu iu the National Gu~~rd mtless[am reassigned from                           K.Srr~~ice in an ~.arly Cliildhnnd Iiducatinn Prngnm•a full-time staff
   that positi~m to anutlier funn of active duty service.                                        member in die educational comExmeut of a Flead Start pm~Ka~u, or a full-
                                                                                                 timc staff rnemher in apre-kindergarten ur child care pmgram that is
   I may continue to defer m:J:ing scheduled instalhuent payments and will                       licensed or regulated by the Stutc. The program uwst be operated fur x
   ncx he liahle For.my interest [hat might otherwise actnie fur asix-month                      penal com~~vable to a full School year and nwst pay a salssry comparahle
   period inun~di;uely following thr expiration of any AeCennent period                          «~ au employee oFa Icxal educational agency.
   descrihed in this section.
                                                                                                 Cancrll:~tion Rates -Poe each completed year of service under paragi~phs
     am nix eligible Coe a delennrnt ~~hilc se~•ving iu a meciiail internship or                 A, l3. C. D. L, 1'. G. I1.[. and J a ~wni~~~ oFthis I~km aiit he canceled at the
   residency pro~run.                                                                            lollowing rates:

   LA\CI:LI.A7'10\S - Upou making a properly d~xumen~cd wriucn                                   • I5 ~rcent of the original principal lomi mnount for each of die first and
   mqucst to the Sthix~l, I aro entitled to have up to I(A) percent oFthc origim.~l              s~roud yeun:•20 percent of the original principal loan amount fur each of
   principal lout amamt of thi+ I~~:w canceled if l perlonn yuxlifying service in                the third snd founl~ yerrs::uid•30 percent oC die original principal kwn
   the areas listed iu parugr.~phs A tl~mugh K below. Ocher cancellation
                                                                                                 anuwnt for die fifth year.
   pa+mentapes apply if f perform qu;difVin~ mrvicr. in the areav listed in
   pcva~raphs L and M.as explained in tho+~ p:u~agrapl~s. Qualifying servim                      Coe each completed year of service under paragraph K (Service in an G.~rly
   mwt he perfonnecl after die enrollment periixl covered by the loan.                           Childhc~d L'•ducation Pro run7, a portion nC this lain will lx canceled ut
                                                                                                 the rate of I S percent of the origimd principrl loan amount .
  :~. Teaching•a Full-time cruher in a public or aher nrn~prc~lit elementary
   ur sccondsry school or in a scha~l or I~xation o~xrated by au educational                     L.Military Camcellation - UEwu nklF:ing a pro~xrty d~xumented written
   service agency that has been designated by the Depunment in accordmice                        rcYµiest to the Schad.[.im entidecl to have up to 50 percent oCthe priucip~d
   with the provisirnts of section 4G.S~a)(') of the Act ns a ulia~l with a high                 auuxmt of this loan cmiceled (or qualitvin~ service dial ended befum
  cuucentration ofstudents Cram low-income I:~milics. Au uPticial Directory                      August l4. 2008.:md up to I(A) Fxrcent cancelled fbr qualifying service
  of d~wi~uatcd low-income schools and I~xations operand by education~il                         that began ou ur alter August 14,'_'008, as: ~ x n~en~ber uF ttie Arnitd
  service agencies is published annu:Jly by Use Department.•a full-time                          Forces of the United States in sn Brea ol'hostili~ies Aiat qualities for s~iul
  special eduruiun teacher in a public or nonprofit elementary or secondary                      pay under section 3l0 oFTitic 37 0(the United Statzs Ccx1e.
   uhix~l system, including a system administered by un eduauinnal service
  agcucy; or.a Cull-[in~e teacher, in a public or other nonprolit eleuknt.~ry or                 Cancellation Rale -For each completcYi year of service under the Military
  uYondary scha~l system who teaches mathematics,science, foreign                                Cancellation provision that ended before August 1-1, "_'008, this lo:m will he
  I311QU:I~I`5, hiliugual education, or any other licld of czpertisc that is                     canceled at the late of 12'/z percent of the original principal kxm amaw[.
  dctennined by the Suite Dcpanincnt ul Hducation [o have a shortage ul'
  qualified teachers in that Statr.                                                              For yualil'ying service thst tx~gan ou or after August I-1.'_008, this loon will
                                                                                                 he cancelal at the following ratcy:. I S percent of die original principal law
   R.liarh~ [nterven[irni Se~vicrs.a Cull-time qualilied professional provider                   umixmL for each uClhe last and xrund yams:•'_U }~ercenl of die urigival
   of e.vly intervention xrvices in a public or other nonpmC~t pm~,rum under                     principal lo:u~ rmowit for each of Uie third and founh years xud.30
   public supervision by a lead agency as authoriTcd by section C3215)of the                     percent of the original principal loan amnunt For du fifth ye:v.
   Individuals wide Disabilities l?ducauion Act I~,vly intervention services are
   pmvidcA to infante and toclAlers ~vi~h disabilities.                                          ~l. Volunteer Service Cancellatlon -Upon making a pro~xrly dcxumenceci
                                                                                                 written request to the Schcx~l,[ um eutided ro have up to 70 percent of the
   L,I,nw fntorcen~ent or Corrections Ohicer•a I'utl-time Iciw                                   original princip~il loan amamt o(tl~is lu~m rtncelecl for yualilving service
   enforcement ol'iher for an eligible Ica al, State, or Fe~lcmd law cuforcement                 perf'unned alter the enrothnent ~rioci covered by the locw us: ~ a volunteer
   a envy: or•a Full-time curnrtions officer f'or:m cli~ihlc kxal, State, or                     wider the Peace Corns Act:. a volunR~er under• the Domestic Volunteer
   Pederil corrections aeencv.                                                                   Service ,pct of 19731AC1'ION programsl.

  P.Norse or Medical Technician •a trill-tiiue nurse providing hcaldi care                   Cancellation Rate -For each completed ye:u oC service under the
  urvites; or• u full-time medic:{I tectuiici.m providing fieal~h care services.             VuluntErr Service Cancellatiat provision, a pottion of this loan will be
                                                                                             canceled at dte Collowin, rtes:
  f.Ciuld or Family Srr~icr A}~ency ~ a full-tiux employee of an eligible
   public or private non-prolix child or family service agency who is directly               • 15 Exrcent nl the origin:il principal loan amount li7r each of tl~e fist acid
   providing i~r supervising the provision of services to high-risk children who             s~tiond 13-mondt Aerials ol'service: and •20 percent of the original
  .ve Il~um low-income corwmmities and the families of such cliilctren.                      principal loan amount for each i~f the dried and fourth 1?-mm~Ai periods of
                                                                                             service.
  1'. Attorneys Guployed in a Drf'e~xler Urgunizatton.u full-time
  sttorney employed in a defender ureanizution established in accordance                     DISCHARGIiS - My obligation u~ repay [his loon may he partially or
  with section 3(AX(g)('_)of tide 1 R. U.S.C.                                                rote~lly disct~lrgrd Car die reas~ms sExxitiecl in p:uagraph~ A,[3, C,and U
                                                                                             below.
 (:. Firefighters•a Full-time firetighrer For n local, Scaee or Federal fire
 dep:ut~nen[ or lire district.                                                               A.Lath - In the event of my death, the School will dischazge the rotal
                                                                                             amamt owed on this lo:w.
  H.Tribal College or Cni~~ersity Faculty•u full-time faculty member at :~
  Tribal College or University, v that term is delinrci in section 316 of tiNe               A.Total and Pernianen[ Div~bflity -Upon making ~ properly documented
  20.[!.S.C.                                                                                 written request ro the School, d1e total amount owed on this loan may he
                                                                                             disch:vged if the U.S. Dep;utn~ent oFGducation determines that f am totally
  L Librarian•a full-time librarian wlm has a master's degree in library                     and pemianenNy disabled a¢ Defined in the Act and I meet certain aher
  science and is employed iu ar~ elementary or secondary school [hat is                      requirements.
  eligible For assistance under pent A of tide I of the Clementary and
                                                                                   Page 3 of ~




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    Terms and Conditions {cunt.)
   C Schad Closure - Under cettain conditions, my taal liability will be                       ~oticr About Snbsequeu[ l.oai~s Made [:nder This
   disch.vged, including refunding any amoun[s [have already paid on the                       Master Prumissnry Nnte
   loan, if[ vas unable to complete the progrim in which I was emnitecl
   b~~c.iuse my School closed.                                                                      ']'his Note authurizes die Scl'nx~l to dishursc nmkipla loans
                                                                                               dmiug the multi-year term of tl~is Note upon my request vid upon
   D.ftank~vptcy - Under cen~in conditions, my loon may he discharged in                       Bie Scho~~Pti CIE[i f111111h11011 AI Illy 10811 CIi[l,II11I IlV.
   b:ml:mptcy. ht order to dixhar_e a loan in b.mkrtiptcy, I tuns[ prove undue                       Suhsequent luaus maa be made under this Nnte f'or [he same or
   l~:adship iii an adversuy pr~eeding lxfom Uie banl:nipt~y cuurt.                            suhsequcn[ perir~ds of enrul(ment at this School "Ihe School,
                                                                                               however, may, at it discretion, dose this Note at .my time an¢
                                                                                               require uie to siu~ a new ~to[e Cor addilionul disbuneuten[s. 1
                     Disclosure of Information                                                 understand that if my School chases to make subsequent loans
                                                                                               imdcr [leis ;~lo~c, no such loans will he made after the earliest of the
   STIJI)F.NT[A:1N O~II3[.l)S~IAN - IF I dispute the terms of my                               following dates; (i) the date the School receives mV written notice
   federal Perkins lawn in ~~1•iting to my School, and my Schcx~l and [are                     that Rio further I~~eins may he disbursed under this Vutr, fii) twelve
   unable to resolve the dispute, 1 may seek the assis-tanm of the Department                  months alter tl~e dale a~t~ my si~nauu~ on this Note iP no
   of Education's Student Loan Ombudsman. The Student Loan                                     disbursement is made during suc}~ ulelve-manih peiiod; or liii) ten
   Ombudsman will review acid attempt to informally resolve the dispute.                       yem~s alter [tie date of my sigiwtu~e on this Vi~te, or the date the
                                                                                               Sclioul receives dlis Note.
                                                                                                     Airy amendment io the Act govents tl~e ternls uF any In.ws
                                                                                               clishursed ou ur after the eflective da€e of such amendment, and su~Ii
                                                                                               amended tCrnu are hereby incdq~nrated into this Note.


                                                                                     IlI 1V0[ICeS
   Pricacv .\ct \mice

   The Privacy Act of 1974 ~5 U.S.C. 552x) requires that [he Following irotice he provided to you:
   71ie authority for collecting the requested inForniation Frum and about you is a~lGt et sec , of die E ligher Gduc~tiun Act I IiIsA) of 1965, as amended ('_0 U.S.C.
   1087aa et se ~u~d the authorities for collecting a~~d using your Social Security Number(SSN)are y~'~184(a)(=1) oC die I lGA (2U U.S.C. 1091(x)(4)) and 31
   U.S.C. 77011bj. Participa[ing in the federal Perkins l.oeu~ (Perkins] Pro~nam and giving us your SSN arc voluntary, but you must provide the requested
   inFonuaiion, including your SSN, ro participate.
   Tl~e principal purposes (ur collecting flee inform.ttion tin [his form, including yair SSN, are to verily your iden[ity, ro determine yair eligihiliry io receive a
   loan or a benefit on a loan (such as adeFernient, Forhe.~rance, discharge, or forgiveness) under the Perkins Progrlm, to permit the servicing oFyour loln(s), and,
   if it becomes necessary, ro Icxate you :u~d [v collect and report on your loanls) iFyour lov~(s) become delinquent or in default. We also use ynur SSN as an
   account identifier end to permit you ro xcess your account information eicc[ronically.

  '11ie information iu your file may he disclosed, on a case by cu e basis ur under a computer matching progr.uu,[o third parties 3s authorized under routine uses
  in the appropriate systems oi'records notices. 71ie routine uses o(this iuli~rmatiou include, but .ire not limited ro,its disclosure to federal, state, or I~xal
  agencies, to private parties such as relatives, prcsen[ and former employrrs, business unJ Exisoual assceiates, to consumer reporting agencies, to financial anA
  educational instiwiiuns, and to guaranty ageuries in order ro verify your identity, to determine your eligibility [n receive n loan or a beneth on a loan, to permit
  the scrvicin; or roller[ion of your loan(s), to enforce the terms oFdie loun(s), to investigate possible fi~xud 2nd ro verify compliance with federal scuden[
  tinmuial xid program regulations, ar ro locate yon if you become delinquent in your loan payments or iF you defaidt. To provide default rate calculations,
  disclosures may be made ro gu:~r:uiry agencies, to linanci:~l end educational instiwtions, or to state agencies. "to provide financial yid history inf~~rmation,
  disclosures may he maAe w educational instim~ii~ns. 'I'o assist program udminiuruors with tracking refunds and cancellations, disclosures may he rnxde ro
  guarwry uscncies, to fiumtciul and educatiuual institutions, or to federal or state agencies. 1b provide a standardized wethal For educational institutiuus
  elticicutly to submit student enrollment status, dixlusures may be made to gulranly tigencics or to financial and edurntiunal institutions. 7b counsel you in
  repayment efforts, disclusures may he made to guarmty agencies, to tuuutcial and eduratioual institutions, or to federal, state, or lixal agencies.
  hi [tie event of lift ~~ation, we may send recorJs to the Depnnmeut of Justice, a curt, adjudicative body,cawsel, party, nr witness iF the disclosure is relevmu
  and necessary to the litigation. [f this inFormatiun, either alone or with other information, indicates n potential violation of tnw, we may send it to the
  appropriate authority For action. We may send inforniation to mert~hers of Congress iF yai ask thorn ro help you ~vi[h feAeral student aid questions. In
  circwnxt:mces involving employment co~rq~laints, grievances, or disciplinary actions, we mxy disclose relevant records to adjudicate or investigate the issues.
  If provided For by a collective h:~rGaining agreemrut, we may disclose recorAs to :i labor organization rex ngni'red under 5 U.S.C. Chapter 7L Diticlusures m;io
  be made to our cuittructors for die purpose of pertomiiug any pro~,Remuuatic function that requires disclosure of recorAs. Before making xuy such disclosure,
  we will require the contrurtor ro maintain Privacy Act safeguards. Dikloa,ims may also he made n~ qualilicd researchers under Privacy Act sad'egu:uds.


  financial Privacy Act \Mice

  lhider die Right to finmuial Privacy Act of 1978(I? U.S.C. 3-141.'i=F? l ), die U.S. Depm~[mcnt of Education will have access to finvicial records in your
  student li~an file tnuin[ained by the lender in compli.mce with the administration of the federal Perkins l.r~an Program.




  According to the Paperwork Reduction Act of 1945, no persons are reyuireci to resExmnd to a coU~rtion of inForn~a[ion unless it displays a currently valid OMI3
  conttol number. Tt~e valid OMI3 control number for this information collection is l l3=t5-0074. The time required to complete this inFonnutiun is estimated to
  average U.5 bows (3U minutes) per response, iucludiug the time to review instructions, search existing data resources, gather and mxiutain the data needed, and
  curnplere and review the information collection. The obligation to respond ro this collection is required to obtain or retain benefit, Higher Education Act of
  19GS,ss ame~idcd (?0 U.S.C. 1087dd). If yon have any comments concerning the acrarHcy of the time esHnune(s) or suggestions for Improving th(s
  form, please write to:
                                                                   U.S. Department of Lducatiun
                                                                   ~Vaehington,l)C 20202-45;7

  tf you huvc any continents or rnncenu regarding the stains of your individual s~bmissiun of this funn, write directly ro the lender.



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        Case 2:22-cv-03767-MWF-PD Document 1 Filed 06/02/22 Page 78 of 83 Page ID #:78
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                 FUND SUMMARY                                    _                         ~       ..                                                                                     ~.              ~           ~     P, Fller

                                  Fund         PEPo<S          Federal Perkins Summer Loan                                                 Ty➢e      LOAN      Loan

                                Sourr,~~       FDRL            Federal Aid                                                       Federel Fund ID     PERK      FeAeral Perkins Loan

                        ; 1 of ,
                               8 ~~                                                                                                                                                                                  Record 1 of 8

                                Award Sche tlula         Direct Loan Inform aeon         Non.Dire ct Loan Inrorm aUon       r                                                                                                                .
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             1515                     ACPT                                   5,500.60                    5.500.00                                                                     S,SOO.OG S
              1 n17                   RCPT                                   2.996.(10                   2,996.00                                                                     2.99fi.00 S
                                                      Totals                 12.496.00                  12,496.00                                                                 12,49E.04

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               ~anerrides inr Fund

                        UnmeWaed           M=No                                                                                        Tracking      N=No

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                      Replace EFC          N=PIo                                                                             Funtl Award Rule        N=No

                             Fund Limit    M=No                                                                                  Vearin College      N=No override

                        Faderal limit      r.=rio                                                                                       NO PeII      M=PIo




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    Case 2:22-cv-03767-MWF-PD Document 1 Filed 06/02/22 Page 79 of 83 Page ID #:79
 7/12/202'1                                                                     Account Inquiry


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                                                                                                                  MENU ~ LOGOUT

          Account inquiry
          Message:
                ~Select Option
          Account:                                             v [Find]
          n U C DAMS
         MELIKE DEWEY
         P.O. BOX 1005
         LOS ANGELES, CA 90078
         323-996-9187
         mdewey@ucdavis.edu

          Fund Type Loan Amt        Payoff   Balance Principal Interest Pen/Late/Oth Agency Inhouse Mos Delq Cohort Year Rate   Freq Payment Last Paym
          PER24A        12,496.00 17,383.53 12,496.00 12,496.00 1,353.82       25.00 3,465.71             33    -NO-     OS000   Q     398.90
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Case 2:22-cv-03767-MWF-PD Document 1 Filed 06/02/22 Page 80 of 83 Page ID #:80




                             Exhibit 3




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Gmail - FSA Case  2:22-cv-03767-MWF-PD
            Feedback                               Document 1
                     Case: 02914705 [ref: OODtOGyiq._SOOtOdGgmy...                Filed 06/02/22 Page 81 of 83 Page ID #:81
                                                                                  blips://maiLgoogle.com/mail/u!0?ik=e6aa0f5d38&view=pt&search=all&...




        NI     Gmail                                                                                                  Melike Dewey <melike.dewey@gmail.com>



        FSA Feedback Case: 02914705[ ref:_OODtOGyiq._SOOtOdGgmy:ref]
        4 messages

        Student Aid Feedback <studentaidfeedback@ed.gov>                                                                          Wed, Dec 23, 2020 at 1:26 PM
        To: "melike.dewey@gmail.com" <melike.dewey@gmail.com>


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           12/23/2020
           Dear Melike A, Dewey:

           Thank you for the opportunity to review your email. We regret that you are not satisfied with the assistance and information that FSA
           has provided. However, Los Angeles City College is following federal laws denying the Title IV funds eligibility until your "Defaulted"
           Status is resolved.

           Your concern regarding your loans "forbearance" status is not about the school's administration and compliance issues of Title IV
           funds.

           For your reference, a school can disburse a unique loan to each payment period or enrollment period. Based on the review of your
           National Student Loan Data System account, only two loans are in default. Please see below:

                         PU - ~EDER/~iL PERKlNS                                          ~      ~                 1                  —_       _ --
                                                                                                                                    Loan Detail 1

                 Approved Amt:      X2;996              Disbursed Amf:       $2:996            OPB:      $2, 96     Agg. OPB: $2,996
                    Loan Date: 06/23120]7                Sep. Loan end:                 Loan Period:        06101/2017 - 06!3012017
                Last Disb. Date: 06130{2017             Last Disb. Amt:      X2,996          Acad. Lv:       4


                       PU - ~DERAL PERKINS                                               •: ,   ~        ~        a ~ ~                        --
                                                                                                                                     Loan Detail
                         {t1/E~t.8~~1f ~~ ~Al.lF~Rt~ttA;:flA►~tt3 - ~tt131300
                  Approved Amt:          $5,500     Disbursed Amt:         S5,5Q0             OPB:           55,50u      Agg.OPB:        X5,500
                     Loan Dafe: Q6l2712016           Sep. Loan Ind:                     Loan Period:             OS/01l20t6 - 08/3DI2096
                 Last Disb. Daie: 06/27/2016             Last Disb. Arnt:     $5:500         Acad. Lv:        4

          Student loan forbearance is decided by your loan servicer, not the school, and may not include all of your loans (all of payment
          period or enrollment period), and is temporary. Therefore, you may contact your loan servicer to verify the loans if the defaulted
          were included on your forbearance request and if your request was approved. For more information regarding your student loan
          forbearance please check the link below:

          https:l/studentaid.gov/manage-loans/lower-payments/get-temporary-relief/forbearance


          We hope this information is helpful to you. Because your complaint is not related to the school's administration of federal grant and
          loan programs, we are maintaining your case closed. If you have additional concerns, you can reply to this email, and we will
          assess those concerns.

          Sincerely,

          Anne Krohn
          Complaint Resolution Specialist
          Resolution and Referral Management Group
          Federal Student Aid
          U.S. Department of Education




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of 5                                                                                                                                              1/7/202L 6:37 AM
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                             Exhibit 4




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Case 2:22-cv-03767-MWF-PD Document 1 Filed 06/02/22 Page 83 of 83 Page ID #:83

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